      Case 6:21-cv-01100-EFM             Document 207       Filed 09/29/23      Page 1 of 85




                       /IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

 PROGENY, a program of Destination
 Innovations, Inc., CHRISTOPHER COOPER,
 ELBERT COSTELLO, MARTEL
 COSTELLO, and JEREMY LEVY, JR., on
 behalf of themselves and others similarly
 situated,
                         Plaintiff(s),                Case No. 6:21-cv-01100-EFM-ADM

 v.

 CITY OF WICHITA, KANSAS,

                         Defendant.


                          MEMORANDUM IN SUPPORT
                OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       Individual Plaintiffs Christopher Cooper, Elbert Costello, Martel Costello, and Jeremy

Levy Jr. and organizational Plaintiff Progeny are among over 5,500 people currently listed in the

Wichita Police Department’s (“WPD”) Master Gang List and Gang Database. Due to their

inclusion, Plaintiffs—and the putative class they represent—are subjected to the WPD’s

surveillance and harassment, live under constant threat of punishment, and, if arrested, face

increased criminal penalties. They live their lives with a constant target on their backs.

       Being labeled a gang member also denies Plaintiffs their most basic constitutional

freedoms, including the ability to spend time with family and loved ones, participate in social

activism and assembly, express themselves freely, and visit certain neighborhoods or businesses.

The WPD designates these individuals as gang members or associates without their knowledge or

consent and, once labeled, denies these individuals any meaningful opportunity to contest that

label or be removed from the List and Database.
       Case 6:21-cv-01100-EFM                Document 207           Filed 09/29/23         Page 2 of 85




        Plaintiffs bring this lawsuit pursuant to 42 U.S.C. § 1983, on behalf of themselves and a

class of similarly situated individuals,1 seeking to end these pernicious practices and ensure that

the WPD’s interest in public safety does not come at the cost of Wichita residents’ constitutional

rights.2 K.S.A. 21-6313, et seq.3 and WPD policies based upon those statutes are unconstitutionally

vague and overbroad, fail to provide procedural due process under the Fourteenth Amendment to

the U.S. Constitution, and violate Plaintiffs’ First Amendment rights to freedom of association and

expression.

        There are no genuine disputes of material fact precluding summary judgment, and the

overwhelming evidence in this case demonstrates that both K.S.A. 21-6313 and the WPD’s

policies and practices run afoul of the Constitution. Plaintiffs therefore respectfully request the

Court grant summary judgment in their favor on all claims and award the declaratory and

injunctive relief requested in the Pretrial Order, Doc. 196 at 44–46.

       PLAINTIFFS’ STATEMENT OF MATERIAL UNCONTROVERTED FACTS
        1.       Plaintiffs incorporate all stipulated facts pled in the Pretrial Order (Doc. 196).4

        A.       The City of Wichita and the Wichita Police Department

        2.       The WPD Gang/Felony Assault Unit (the “Gang Unit”) consists of officers,

detectives, and supervisors. This includes (1) twelve detectives working primarily on gang and

felony assault crimes, three detectives working primarily as liaisons to task forces with federal

agencies, and multiple gang intelligence officers; (2) a Violent Crime Community Response Team




1
  Plaintiffs’ Motion for Class Certification (Doc. 175) is currently pending before the Court.
2
  The WPD is a department of the Defendant, the City of Wichita. See Pretrial Order, Doc. 196 at 2 ¶ 2. Except where
explicitly noted, facts and claims in this Memorandum that refer to Defendant refer to the City of Wichita, by and
through the WPD.
3
  Plaintiffs challenge K.S.A. 21-6313 and the use of definitions contained therein in K.S.A. 21-6413 through K.S.A.
21-6316. All references to K.S.A. 21-6313, et seq. in this brief are to the language contained at K.S.A. 21-6313 and
any subsequent sections that rely on the definitions and terms contained in K.S.A. 21-6313.
4
  Hereinafter, Plaintiffs refer to the stipulated facts in the Pretrial Order as “PTO Stip.”

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       Case 6:21-cv-01100-EFM                Document 207           Filed 09/29/23         Page 3 of 85




(“VCCRT”) comprised of a sergeant, six officers, and a community service officer; and (3) a

Juvenile Intervention Unit that includes two officers.5

        3.       The officers in the Gang Unit are responsible for designating citizens as gang

members; adding them to the Master Gang Database and Gang List pursuant to Policy 527; and

“monitor[ing] documented gang members and associates for any violations of their parole,

probation/parole, bond, pretrial restrictions and report[ing] this to the proper supervising authority

with the intent of removing the offender from the community” in accordance with Policy 527.6

        4.       Officers of color are, and historically have been, underrepresented in the Gang Unit,

VCCRT, and other WPD units or divisions responsible for implementing Policy 527, including in

leadership.7

        B.       K.S.A. 21-6313, Policy 527, and the Mechanics of the Gang Database

        5.       K.S.A. 21-6313 is based on a WPD policy that would eventually become Policy

527 and was authored by former WPD Gang Unit Lieutenant and current Sedgwick County Sheriff

Jeff Easter. During the process of enacting the gang legislation Easter drafted, some Kansas state

senators voiced concerns that the proposed statute was “intrusive” and “overreaching.” 8

        6.       Some WPD personnel refer to the Gang Database as the Master Gang List or simply

the “database” or “gang list,” and these terms are used interchangeably in WPD documents.9




5
   Ex. 1, City of Wichita, WPD Gang/Felony Assault Unit, https://www.wichita.gov/WPD/GangUnit/Pages/
default.aspx; see also Ex. 2, Beard Dep. 70:21–72:5, 90:20–91:14, 96:18–97:10; Ex. 3, Bartel Dep. 57:10–61:20,
83:17–86:14.
6
  Ex. 4, Policy 527; PTO Stip. ¶¶ 20, 23.
7
  Ex. 5, Nicholson Dep. 110:2-6.
8
  Ex. 6, Easter Dep. vol. I 19:17–23:11, 34:19–38:10, 57:9–61:10; PTO Stip. ¶ 14.
9
  See, e.g., Ex 4, Policy 527; Ex. 7, Beard 30(b)(6) Dep. 21:13-23, 26:10-20; Ex. 3, Bartel Dep. 127:15–128:15; Ex.
8, Gilmore Dep. 18:5–19:12, 115:4-8; Ex. 9, E-mail from J. Salcido to G. Ramsay (Sept. 24, 2021 3:54 PM).

                                                        3
       Case 6:21-cv-01100-EFM                Document 207           Filed 09/29/23         Page 4 of 85




        7.       The WPD only reviews Policy 527 every 24 months because it is considered a non-

“critical” policy. Policy 527 last underwent review in August 2019. The WPD has refused to revise

the policy during the pendency of this lawsuit.10

        Adding People to the Gang Database

        8.       WPD officers have wide discretion as to whether to nominate an individual who

meets one or more of the criteria for inclusion in the Gang Database.11 Some WPD personnel

nominate more individuals for inclusion in the Gang Database than other WPD personnel.12

        9.       A person need not be convicted of, charged with, accused of, or suspected of

participation in any criminal act in order to be designated as a criminal street gang member and

included in the Gang Database.13

        10.      The WPD has included individuals in the Gang Database who have never been

accused of, charged with, or convicted of any criminal act.14 There have been individual identified

in the Gang Database who did not meet the criteria for criminal street gang membership or criminal

street gang associateship under K.S.A. 21-6313 and Policy 527.15

        Active, Inactive, and Associate Designations within the Gang Database

        11.      Under Policy 527, the WPD shifts an individual’s status in the Gang Database from

“active” to “inactive” if, after three years, “there is no documented activity.”16




10
   Ex. 10, Baird 30(b)(6) Dep. 25:6-25, 26:15-17, 26:18–27:14, 28:14–29:1, 29:10-17; PTO Stip. ¶ 16.
11
   Ex. 11, McKenna Dep. 84:8-22; Ex. 12, Def.’s Resp. to Pls.’ First Req. for Admis. Nos. 22, 23; Ex. 13, Muñiz Dep.
28:1-12; see generally PTO Stip. ¶¶ 21-22.
12
   Ex. 14, Inkelaar Dep. 101:13-17; Ex. 13, Muñiz Dep. 28:1-12.
13
   Ex. 11, McKenna Dep. 143:9-14, 143:20-23; Ex. 2, Beard Dep. 153:24–154:25; Ex. 7, Beard 30(b)(6) Dep. 53:19-
25; see also Ex. 12, Def.’s Resp. to Pls.’ First Req. for Admis. Nos. 21, 25; Ex. 15, Selected E-mails between WPD
and Outside Agencies, at WICHITA 110994–96.
14
   E.g., Ex. 16, Selected Gang Database Entries, at WICHITA 051640, WICHITA 052504, WICHITA 052561,
WICHITA 052151, WICHITA 052165, WICHITA 053188–89; see also Ex. 17, Mateo Dep. 72:18–73:14.
15
   Ex. 2, Beard Dep. 219:24–221:19.
16
   Ex. 4, Policy 527, at 3; PTO Stip. ¶ 40.

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       Case 6:21-cv-01100-EFM               Document 207           Filed 09/29/23        Page 5 of 85




        12.      WPD personnel have renewed individuals’ “active” status in the Gang Database for

an additional three years based on a single instance of the individual wearing clothing of a certain

color or sports team.17 WPD personnel have also maintained or renewed individuals’ “active”

status for an additional three years based on a single observation of them at a family funeral

attended by others the WPD had designated as gang members,18 or an individual’s statement or

the officer’s belief that members of the individual’s family are in gangs.19

        13.      WPD personnel have also renewed individuals in the Gang Database for being the

victim of a crime—for example, suffering domestic violence by someone in the Database, or being

shot by people in the Database—while around others also designated as gang members.20

        14.      WPD personnel have renewed individuals’ designations as active gang members

based on arrests for person crimes unrelated to gang activity, such as domestic violence battery.21

        15.      If a person identified as having a gang-related tattoo manages to become “inactive”

in the Gang Database, that person can meet one of the K.S.A. 21-6313 criteria required for

reactivation as an “active” gang associate or gang member if they do not attempt to remove or

conceal an existing tattoo that was originally used to justify adding them to the Gang Database.22

        C.       Racial Disparities in the Makeup of the Gang Database

        16.      A robust body of social science research shows that people designated by law

enforcement as gang members on gang lists nationwide are overwhelmingly Black or Latino.23


17
   See, e.g., Ex. 16, Selected Gang Database Entries, at WICHITA 006000, WICHITA 023978, WICHITA 024375,
WICHITA 052151, WICHITA 051640, WICHITA 051765, WICHITA 052561; see also Ex. 18, Salcido Dep. 183:8–
185:5.
18
   See, e.g., Ex. 16, Selected Gang Database Entries, at WICHITA 023919.
19
   Id. at WICHITA 052433, WICHITA 053640.
20
   Id. at WICHITA 023919, WICHITA 052165.
21
   See, e.g., Ex. 19, E-mail from C. Beard to C. Pinkston (Apr. 19, 2021 2:39 PM); Ex. 16, Selected Gang Database
Entries, at WICHITA 054643; Ex. 15, Selected E-mails between WPD and Outside Agencies, at WICHITA 098933
(requesting information from Sedgwick County on two individuals, and noting that one “went inactive back in 2014.
I would be interested in trying to flag them again”).
22
   Ex. 20, SOP for Entries into the Gang Database, at WICHITA 028989.
23
   Ex. 13, Muñiz Dep. 58:24–59:6.

                                                       5
       Case 6:21-cv-01100-EFM                  Document 207             Filed 09/29/23          Page 6 of 85




         17.      One out of every 34 African American Wichita residents is in the Gang Database.24

         18.      The Gang Database contains a disproportionate number of persons of color in

relation to the population of the City of Wichita.25 According to 2020 Census data, the City of

Wichita population is 67.9% White alone, not Hispanic or Latino; 7.5% Black; and 14.1%

Hispanic or Latino. The Sedgwick County population is 64.2% White alone, not Hispanic or

Latino; 8.9% Black; and 15.8% Hispanic or Latino.26

         19.      In the spring of 2021, Deputy Chief Jose Salcido informed WPD leadership that

Black and Latinx individuals were overrepresented in the Gang Database.27 The City admitted that

it had no information to contest the accuracy of a Racial Justice Task Force report’s demographic

statistics confirming overrepresentation—a task force that the City itself commissioned.28

         20.      Though it is aware that Black individuals are heavily overrepresented in the Gang

Database, the WPD has taken no action in response to that information,29 has not done any research

into why minorities make up the majority of the Gang Database, and has no plans to do so.30




24
   Ex. 7, Beard 30(b)(6) Dep. 50:23–51:7; Ex. 21, Equal Justice Under Law: Report of the Racial Justice Task Force
to the Board of Governors of the Wichita Bar Association 22–23.
25
   Ex. 9, E-mail from J. Salcido to G. Ramsay (Sept. 24, 2021 3:54 PM) at WICHITA 055483; see also PTO Stip. ¶¶
51-53; Ex. 7, Beard 30(b)(6) Dep. 12:2-4, 18:10-17, 44:16-24; Ex. 22, Ramsay Dep. 114:5-24; Ex. 18, Salcido Dep.
82:3–85:9; Ex. 23, Decl. of Mark Hartman ¶ 4.
26
   Plaintiffs respectfully request the Court take judicial notice of the 2020 Census query results for the Wichita, Kansas
Metropolitan Area and Sedgwick County, attached as Exs. 24-25, Fed. R. Evid. 201; Hollinger v. Home State Mut.
Ins. Co., 654 F.3d 564, 571–72 (5th Cir. 2011) (finding that “United States Census data is an appropriate and frequent
subject of judicial notice” and citing cases); see also Long v. Docking, 283 F. Supp. 539, 544 (D. Kan. 1968) (taking
judicial notice of 1967 Annual Census from State Board of Agriculture).
27
   Ex. 9, E-mail from J. Salcido to G. Ramsay (Sept. 24, 2021 3:54 PM); see also Ex. 7, Beard 30(b)(6) Dep. 50:8–
52:6; Ex. 21, Report of the Racial Justice Task Force, at 22–23.
28
   Ex. 7, Beard 30(b)(6) Dep. 44:18-24.
29
   Id. 49:3–50:7.
30
   Id. 20:22–21:10; cf. Ex. 26, Easter Dep. vol. II 47:19–49:21 (describing a demographic study of violent crime that
was “very gang specific”).

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       Case 6:21-cv-01100-EFM                Document 207           Filed 09/29/23         Page 7 of 85




          D.       Use and Dissemination of Gang Database Information

          21.      The WPD Gang Unit instructs non-Gang Unit personnel in how to search for and

identify an individual’s gang status by name through its Niche electronic search system.31

          22.      Information including the names, photos, purported addresses, dates of birth and

Social Security numbers of persons the WPD designated as gang members or associates was

published in a “Gang Activity Informational Bulletin” that was publicly disseminated in October

2011.32




                                                                         33




                .34 As of 2022, the WPD continued to publish bulletins with the names, photos, and

dates of birth of gang designees and even non-designated gang suspects.35

          23.      Policy 527 requires WPD personnel to include gang designation information in

arrest affidavits for person felonies, even when the alleged crime is not gang-related.36 WPD

personnel also ascertain and document in charging affidavits whether individuals are designated



31
   Ex. 27, Identification of Gang Members and Associates Using Niche.
32
   Ex. 28, October 2011 Gang Bulletin Leak Documents, at WICHITA 056946–71, WICHITA 056941–44.
33
   Id. at WICHITA 056941–44, WICHITA 056972, WICHITA 056973.
34
   Id. at WICHITA 056945.
35
   Id. at WICHITA 079849–51; see also PSOF ¶ 30.
36
   Ex. 4, Policy 527, at 2; PTO Stip. ¶¶ 46; see also Ex. 7, Beard 30(b)(6) Dep. 74:16-23, 75:2-6; Ex. 29, Selected
WPD Affidavits, at WICHITA 118903–06, WICHITA 119347–52; Ex. 30, Decl. of J. Houston Bales ¶ 5; Ex. 31,
Decl. of Bach Hang ¶¶ 5, 14.

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       Case 6:21-cv-01100-EFM                  Document 207            Filed 09/29/23          Page 8 of 85




as gang members or associates in the Gang Database.37 As a result, all WPD personnel (including

approximately 700 commissioned officers or employees) conducting arrests must have access to

and use of the information in the Gang Database.38

         24.      Similarly, WPD personnel have disclosed information from Gang Database entries

in WPD trainings given to all commissioned officers and shared it with school resource officers

present in Wichita schools.39

         25.      WPD personnel regularly share individuals’ gang designations with other

municipal, county, state, and federal law enforcement officers and agencies.40 For example, the

WPD shares its Gang Database information with the Sedgwick County District Attorney’s Office.

Prosecutors can then seek the enhanced $50,000 minimum bail for those the WPD deems gang

members or associates.41 Historically, WPD personnel have identified some designated gang

members in the National Crime Information Center database, which links “criminal (and

authorized noncriminal) justice agencies located in the 50 states, the District of Columbia, U.S.




37
   Ex. 14, Inkelaar Dep. 18:18-24, 27:25–28:11, 29:12-16, 33:4-10, 35:9–36:1, 37:22–38:7, 75:16–76:2; Ex. 32, Decl.
of Jorge De Hoyos ¶ 6; Ex. 30, Bales Decl. ¶ 5; Ex. 33, Decl. of Sonya Strickland ¶ 5; Ex. 31, Hang Decl. ¶ 5.
38
   Ex. 4, Policy 527, at 2; see also Ex. 7, Beard 30(b)(6) Dep. 70:16–71:9.
39
   Ex. 2, Beard Dep. 193:1–195:5; Ex. 34, Speer Dep. 73:10-12; Ex. 35, Wichita Street Gang/LEO Update 2012
Presentation at WICHITA 063265; see also Ex. 15, Selected E-mails between WPD and Outside Agencies, at
WICHITA 103843–44 (WPD school resource officer providing names, dates of birth, and alleged gang status of high
school students to school officials, stating “I’m probably sharing some info I’m not supposed to but I want you all to
be aware”).
40
   PTO Stip. ¶ 48; Ex. 2, Beard Dep. 222:9–227:8, 231:21–237:15; Ex. 36, Hemmert Dep. 93:2-19; Ex. 34, Speer Dep.
73:1-9; Ex. 12, Defs.’ Resp. to Pls.’ Req. for Admis. Nos. 41, 42; Ex. 15, Selected E-mails between WPD and Outside
Agencies, at WICHITA 102627–28 (WPD affirming that it will try to                                                      ),
WICHITA 103780 (WPD crime analyst stating, “
                                                                      ”).
41
   K.S.A. 21-6316 (“When a criminal street gang member is arrested for a person felony, bail shall be at least $50,000
cash or surety . . . .”); Ex. 2, Beard Dep. 191:19-24, 222:9–223:23; Ex. 15, Selected E-mails between WPD and Outside
Agencies, at WICHITA 120587–89 (“I’ll be asking for $75k or more. Legally since he is a documented gang member
and he’s committing person felonies it must be at least $50k. But I am sure Judge Hatfield will set it higher.”); Ex. 32,
De Hoyos Decl. ¶ 8; Ex. 23, Hartman Decl. ¶ 6; Ex. 30, Bales Decl. ¶ 7; Ex. 33, Strickland Decl. ¶¶ 7-8; Ex. 31, Hang
Decl. ¶ 7.

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       Case 6:21-cv-01100-EFM               Document 207           Filed 09/29/23         Page 9 of 85




territories and possessions, and select foreign countries to facilitate the cooperative sharing of

criminal justice information.”42

        26.      The WPD likewise shares its Gang Database information with the Kansas

Department of Corrections (“KDOC”). KDOC may impose enhanced prison or jail conditions and

courts may impose stricter parole and probation terms on those in the Gang Database.43

        27.      At one point, the Sedgwick County Sheriff’s Office had direct access to the WPD

Gang Database.44 Even today, intelligence corporals in the Sheriff’s Office have direct access to

the Gang Database or can at least access information about the Gang Database.45

        28.      At various points, WPD officers have disclosed Gang Database information to the

public. A WPD officer once publicly disclosed a printed copy of the Gang List when he left it on

the trunk of his WPD squad car, and the news media ultimately obtained a copy.46 In another event,

a gang bulletin containing names of gang members and their respective gangs was publicly posted

at a barbershop in Wichita. WPD personnel pulled this information from the Gang Database and

circulated it to outside law enforcement personnel. Someone within law enforcement forwarded it

to an unauthorized person who then printed and posted the bulletin.47

        29.      Media also apparently have access to Gang Database information. In 2021, the

Wichita Eagle published an article identifying Plaintiff Elbert Costello as a “documented gang

member.”48



42
   PTO Stip. ¶ 48; U.S. Dep’t of Justice, Fed. Bureau of Investigation, Privacy Impact Assessment for the National
Crime Information Center (Nov. 7, 2022), at 1, https://www.fbi.gov/file-repository/pia-ncic-020723.pdf/view.
43
   Ex. 2, Beard Dep. 236:21–238:8, 224:20–225:13; Ex. 18, Salcido Dep. 240:16–243:16; see also Easter Dep. vol. II
27:3–29:14.
44
   Ex. 26, Easter Dep. vol. II 21:7-15.
45
   Id. at 29:25–30:8.
46
   Ex. 14, Inkelaar Dep. 79:6-20, 80:19–81:4; Ex. 37, Parker-Givens Dep. 91:6–92:8.
47
   Ex. 7, Beard 30(b)(6) Dep. 141:11–146:23; Ex. 26, Easter Dep. vol. II 26:13–27:23, 32:6-20.
48
   Ex. 38, Jason Tidd, FBI: Glasses found with jail search warrant help ID shooter at American Legion, The Wichita
Eagle (Mar. 10, 2021 10:34pm) (PLFS00001998–2002, filed as Doc. 1-3).

                                                        9
      Case 6:21-cv-01100-EFM               Document 207          Filed 09/29/23        Page 10 of 85




        30.      Former WPD Captain Wendell Nicholson was charged with and subsequently

received diversion for crimes where the underlying facts included at least 22 instances of publicly

sharing information derived from the Gang Database, including identifying individuals listed in

the Database and their alleged gang affiliations. This occurred during Capt. Nicholson’s

employment with the WPD.49

        31.      On at least one occasion, a former WPD Gang Unit officer shared information with

Section 8 housing authority employee Angela Cox about purported gang members living and

hanging out at a residence on East Kensington, leading to the initiation of eviction proceedings

against those individuals.50 This approach is consistent with

                                                                        .51

        32.      The disclosure of law enforcement gang designations can carry significant social

stigma, including being negatively viewed by one’s community, social rejection, and loss of

employment opportunities, in addition to legal consequences including ineligibility for certain

forms of immigration relief, and the imposition of restrictive probation and parole conditions.52

        E.       WPD Officers’ Inconsistent and Unverified Application of K.S.A. 21-6313 and
                 Policy 527

        33.      After completing the police academy, most officers do not receive additional

training on how to identify potential gang members under Policy 527.53 The WPD does not require

Gang Unit officers to review the criteria for gang membership after graduating Academy and prior




49
   Ex. 39, Affidavit of Brandon Monroe (Nicholson Charging Affidavit).
50
   Ex. 40, Wichita Police Department Performance Appraisal, at WICHITA 125457.
51
   Ex. 41, Gang Awareness and Domestic Terrorism: Understanding Gangs, at 25; Ex. 42, Strategies to Address Gang
Activity: Suppression, Intervention and Prevention, at 11.
52
   Ex. 13, Muñiz Dep. 47:9-22, 53:17–54:7.
53
   Ex. 11, McKenna Dep. 74:11-17, 78:6-9; Ex. 14, Inkelaar Dep. 94:1-10, 97:12–98:1.

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      Case 6:21-cv-01100-EFM              Document 207          Filed 09/29/23        Page 11 of 85




to joining the Gang Unit,54 and officers assigned to the Gang Unit do not receive any gang-unit

specific training.55

        34.     K.S.A. 21-6313 and Policy 527 do not limit officers’ discretion in nominating an

individual for inclusion in the Gang Database.56 Furthermore, K.S.A. 21-6313 and Policy 527

allow gang intelligence officers to add individuals directly to the Gang Database without review

by any other WPD personnel.57

        35.     As a result, each officer applies the statutory criteria differently.58 Former Capt.

Nicholson testified that the criteria are “subjective sorts of things.”59 Deputy Chief Salcido

likewise affirmed that there were several aspects of K.S.A. 21-6313 that are subjective, and

understandings could vary between officers.60 Former WPD Sergeant Sage Hemmert stated that

application of K.S.A. 21-6313’s criteria depends on “context” and admitted that WPD officers can

interpret the criteria differently.61 At least one officer admits to relying on their personal judgment

and not the language of the statutory criteria in determining whether individuals meet the criteria

for gang membership.62

        36.     Even if an individual meets three criteria for gang membership under K.S.A. 21-

6313, a gang intelligence officer might exercise their discretion and choose not to add them to the




54
   Ex. 14, Inkelaar Dep. 100:5-10.
55
   Id. at 94:16-20; Ex. 11, McKenna Dep. 88:16-22.
56
   See Ex. 11, McKenna Dep. 74:22–75:12, 75:23–78:9, 82:24–84:22; Ex. 14, Inkelaar Dep. 84:8–85:17, 86:8–87:8,
91:24–92:3.
57
   Ex. 11, McKenna Dep. 82:6-10, 82:24–83:12, 84:2-7.
58
   Id. at 152:24–153:10, 163:21–164:8; Ex. 14, Inkelaar Dep. 109:20-23.
59
   Ex. 5, Nicholson Dep. 145:1-2.
60
   Ex. 18, Salcido Dep. 178:10–196:2, 196:10-20, 192:15–193:12, 205:12–207:10.
61
   Ex. 36, Hemmert Dep. 180:16–184:5.
62
   Ex. 11, McKenna Dep. 141:14-18; see also Ex. 18, Salcido Dep. 317:4-8.

                                                     11
      Case 6:21-cv-01100-EFM               Document 207           Filed 09/29/23        Page 12 of 85




Gang Database, or may add them as an associate instead of a member.63 For example, Det. Kevin

McKenna would not designate a lawyer who represents gang members while wearing a blue tie.64

        37.      Some gang intelligence officers are not necessarily concerned with whether an

individual is truly a gang member when adding them to the Gang Database, but rather only with

whether they meet the criteria set out in Policy 527 and K.S.A. 21-6313.65

        38.      Some WPD officers believe that strictly applying the criteria stated in K.S.A. 21-

6313 and Policy 527 is not enough to reliably identify individuals as gang members; they prefer

additional context and evidence to make that determination. But other officers add individuals to

the Gang Database and even testify to a defendant’s gang status in criminal proceedings based on

nothing more than meeting the express criteria in K.S.A. 21-6313 and Policy 527.66

        39.      WPD officers can add individuals to the Gang Database or renew their status based

solely on social media postings.67 The WPD does not monitor Gang Unit officers’ use of social

media for Gang Database purposes, nor does the WPD verify the social media evidence officers

collect as purported proof of gang affiliation.68 The WPD permits Gang Unit officers to create fake

social media accounts to monitor individuals’ social media activity, which Deputy Chief Salcido

confirmed officers use to justify additions and renewals to the Gang Database.69




63
   Ex. 11, McKenna Dep. 203:1-18.
64
   Id. at 134:16–135:25.
65
   Id. at 125:24–126:21, 128:18–129:17; see also Ex. 43 Wichita Gang Data Base Presentation, at WICHITA 085383
(“Are they ‘real gangsters’? Does it matter? Traditional ties, or not, they have adopted the lifestyle.”).
66
   Ex. 11, McKenna Dep. 156:3–158:10, 159:8–162:25; Ex. 14, Inkelaar Dep. 109:7-23.
67
   PTO Stip. ¶ 41; Ex. 2, Beard Dep. 148:1-23; Ex. 44, Wichita Gang Data Base Presentation, at WICHITA 085578
(listing              as one of two “main sources of identification”); Ex. 16, Selected Gang Database Entries, at
WICHITA 030056, WICHITA 052138, WICHITA 030070, WICHITA 030074, WICHITA 053640, WICHITA
053918.
68
   Ex. 2, Beard Dep. 148:1-23.
69
   Id. at 141:23–151:24; Ex. 18, Salcido Dep. 306:12–307:18.

                                                       12
        Case 6:21-cv-01100-EFM              Document 207            Filed 09/29/23         Page 13 of 85




           40.     Gang Unit personnel have counted a single instance of an individual using a gang

hand sign/handshake on social media as a self-admission of gang membership.70 Gang Unit

personnel have also counted a single observation of an individual purportedly using gang signs on

social media as satisfying at least two separate criteria for renewing and re-designating a previously

inactive gang member as an active gang associate.71

           41.     The WPD’s Gang Database policies are notably similar to the policies of other law

enforcement agencies, including the Los Angeles Police Department, where inaccurate and

falsified gang designations were internally investigated and publicly disclosed, leading to reforms

in the database policies.72

           42.     The fact that the criteria are poorly defined also makes it difficult for individual

citizens to avoid meeting those criteria unknowingly and unintentionally.73

           43.     There are individuals designated as gang members or associates in the Gang

Database who maintain that they are not, or have never been, a member of a criminal street gang

or an “associate” of a criminal street gang.74 Former Capt. Nicholson agreed that as written, the

policy and statute can “lead to incorrectly identifying people in the community as gang

members.”75




70
   Ex. 16, Selected Gang Database Entries, at WICHITA 053640.
71
   Id. at WICHITA 053917–18.
72
   Ex. 13, Muñiz Dep. 18:12–19:9, 25:2–26:1; see also Heather Murphy, Los Angeles Officers Suspended After Boy
Is Wrongly Labeled a Gang Member, New York Times (Jan. 8, 2020), https://www.nytimes.com/2020/01/08/us/
lapd-gang-database.html; Douglas S. Wood, California pulls access to LAPD gang data in database after prosecutors
say officers falsified records, CNN (July 14, 2020), https://www.cnn.com/2020/07/14/us/lapd-gang-database-
california/index.html.
73
     Ex. 13, Muñiz Dep. 35:13–36:12.
74
   See, e.g., Ex. 45, Decl. of Christopher Cooper ¶ 3; Ex. 46, Decl. of Elbert Costello ¶ 3; Ex. 47, Decl. of Martel
Costello ¶ 3; Ex. 48, Decl. of Jeremy Levy ¶ 4; Ex. 29, Selected WPD Affidavits, at WICHITA 118903–06, WICHITA
119347–52; Ex. 23, Hartman Decl. ¶ 12.
75
   Ex. 5, Nicholson Dep. 145:12-16.

                                                        13
      Case 6:21-cv-01100-EFM               Document 207          Filed 09/29/23        Page 14 of 85




        44.      There are WPD personnel who themselves meet two or more criteria of criminal

street gang membership or associateship—including the “Three-Percenters,” a criminal militia

group whose members have been indicted and convicted for organized federal criminal activity—

yet they are not designated as criminal street gang members or associates in the Gang Database.76

And WPD personnel are aware of individuals who meet three or more criteria of criminal street

gang membership but are not designated as criminal street gang members in the Gang Database.77

        Self-Admission

        45.      Under K.S.A. 21-6313, information from a parent or guardian, a confidential

informant, or another law enforcement agency or correctional facility could qualify as evidence of

gang membership.78 However, there is “no . . . set standard” for what constitutes a documented

reliable informant.79

        46.      Deputy Chief Salcido acknowledged that there is no requirement that a gang

intelligence officer review body camera video footage to verify a purported self-admission. He

was unable to point to any specific instance in which that actually happened.80

        47.      Some WPD officers mark the “self-admit” criterion as satisfied based not on a

direct admission to the officer, but rather on other interactions that they overheard.81 Other officers

require an admission made directly to the officer by the individual themselves in order to mark an




76
   Ex. 18, Salcido Dep. 56:2–62:20.
77
    Ex. 49, City of Wichita, Wichita Citizen’s Review Board Report and Recommendation, at 22,
https://www.wichita.gov/WPD/Citizen%20Review%20Board/WCRB%20Report%20and%20Recommendations
.pdf; Ex. 50, U.S. Attorney’s Office for the District of Columbia, Press Release, https://www.justice.gov/usao-
dc/pr/six-california-men-four-whom-self-identify-members-three-percenter-militias-indicted; Ex. 51, Stanford
University, Mapping Militant Organizations: “Three Percenters,” https://cisac.fsi.stanford.edu/mappingmilitants/
profiles/three-percenters; Ex. 11, McKenna Dep. 203:1-18; see also Ex. 11, McKenna Dep. 180:6-8.
78
   Ex. 3, Bartel Dep. 131:2-23.
79
   Ex. 52, Thatcher Dep. 93:4-5.
80
   Ex. 18, Salcido Dep. 162:17–166:21.
81
   Ex. 2, Beard Dep. 32:7–33:7.

                                                      14
      Case 6:21-cv-01100-EFM                Document 207            Filed 09/29/23        Page 15 of 85




individual as a self-admit.82 WPD officers have considered (1) being in the presence of others in

the Database, (2) being arrested with others in the Database, (3) stating that one “has hung out with

[gang] members in the past,” and (4) having a tattoo of the                               as a self-admission.83

A single video showing a person throwing hand signs may also be counted as a self-admission or

satisfying two separate criteria for gang associateship.84

        “Frequenting” a “Criminal Street Gang Area”

        48.      Policy 527 does not define “particular criminal street gang’s area,” nor does it

establish criteria for determining what constitutes a “particular street gang’s area,” as used in

K.S.A. 21-6313(b)(2)(D) and applied by the WPD in designating individuals as gang members or

associates in its Gang Database.85 Officers interpret and apply that criterion based on their

individual knowledge and experience.86 The WPD has no documented criteria or guidelines for

what constitutes a gang area or location.87

        49.      Individuals may only learn that the WPD considers certain areas of the city or

businesses to be “gang areas” when they are prohibited from frequenting those areas or businesses

as a condition of probation or parole.88




82
   Ex. 36, Hemmert Dep. 42:19–43:16.
83
   Ex. 16, Selected Gang Database Entries, at WICHITA 053925.
84
   See id. at WICHITA 053917; see also PTO Stip. ¶ 25.
85
   Ex. 2, Beard Dep. 78:15–79:11; Ex. 14, Inkelaar Dep. 115:8-6; Ex. 12, Defs.’ Resp. to Pls.’ First Req. for Admis.
Nos. 6, 8.
86
   Ex. 14, Inkelaar Dep. 115:8-6; see also Ex. 7, Beard 30(b)(6) Dep. 115:14–120:11; Ex. 11, McKenna Dep. 121:1–
123:12; Ex. 18, Salcido Dep. 148:20-25, 180:13–181:14, 193:14–196:2, 204:19–206:7; Ex. 2, Beard Dep. 78:15–
79:11; Ex. 52, Thatcher Dep. 94:12–95:7.
87
   Ex. 2, Beard Dep. 78:15–79:11; see also Ex. 7, Beard 30(b)(6) Dep. 115:14–120:11; Ex. 52, Thatcher Dep. 94:12–
95:7; Ex. 26, Easter Dep. vol. II 57:3-5 (“Q. But they weren’t specifically designated as gang-related areas or gang
areas? A. I’ve never heard that term; no, ma’am.”); Ex. 53, Selected Gang Mapping Documents, at WICHITA 047401–
43, WICHITA 047474–515, WICHITA 055098–101, WICHITA 079677–78.
88
   Ex. 2, Beard Dep. 244:11–245:6, 245:18–255:9; Ex. 7, Beard 30(b)(6) Dep. 185:20–189:21.

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      Case 6:21-cv-01100-EFM                 Document 207            Filed 09/29/23         Page 16 of 85




         50.      WPD officers routinely surveil places they believe to be associated with gangs,

even purported gang members’                  .89 The WPD adds individuals to the Gang Database merely

because officers witnesses them “hanging out” at those locations.90 However, WPD officers

acknowledge that street gangs are no longer associated with specific geographic locations.91

         51.      At least one WPD officer admits that there is no way to avoid going into a potential

“gang area” for purposes of avoiding inclusion in the Gang Database, and many officers are unable

to define what “gang area” means.92

         52.      Likewise, WPD officers differ in their interpretation of what “frequenting” a gang

area under K.S.A. 21-6313(b)(2)(D) means.93 Deputy Chief Salcido believes “frequent” means to

“linger there for many days . . . four or five, six . . . or more.” To his knowledge, the WPD does

not provide a standard definition for “frequents” and there is no training or instructions given to

auditors on its meaning. He describes “frequents” as “subjective” and “open to interpretation” and

therefore different officers could view it differently.94

         53.      The WPD admits that a Gang Unit officer could apply the “frequents a particular

street gang’s area” criterion to identify a person as a gang member or associate because the WPD

has identified their family member’s house as a “criminal street gang area.”95



89
   See, e.g., Ex. 29, Selected WPD Affidavits, at WICHITA 102157; Ex. 15, Selected E-mails between WPD and
Outside Agencies, at WICHITA 108294, WICHITA 108714; Ex. 54, E-mail from D. Harty to B. Mumma (July 26,
2019 10:38 PM), at WICHITA 125847 (describing surveillance of                                                     and
that “                                                                                         ”).
90
   Ex. 2, Beard Dep. 44:11–46:23; see also Ex. 8,__, Gilmore Dep. 51:6-15; Ex. 44, Wichita Gang Data Base
Presentation, at WICHITA 085578 (listing                              as one of two “main sources of identification”).
91
   See Ex. 11, McKenna Dep. 121:21–123:12; Ex. 18, Salcido Dep. 148:20-25, 180:13–181:14, 193:14–196:2.
92
   Ex. 14, Inkelaar Dep. 115:1–117:25; Ex. 52, Thatcher Dep. 94:12–96:2; Ex. 5, Nicholson Dep. 142:14–21; Ex. 36,
Hemmert Dep. 171:3-15; see also Ex. 26, Easter Dep. vol. II 55:21 –57:3-5.
93
   Ex. 14, Inkelaar Dep. 111:7-12, 113:8-10; Ex. 18, Salcido Dep. 178:10–180:12, 191:25–193:12.
94
   Ex. 18, Salcido Dep. 178:10–180:12, 191:25–193:12.
95
   Ex. 7, Beard 30(b)(6) Dep. 115:22–119:7; see also Ex. 55, Selected Gang Conditions E-mails, at WICHITA 121147
(

        ).

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      Case 6:21-cv-01100-EFM                Document 207            Filed 09/29/23         Page 17 of 85




        54.      The “frequenting” a gang area criterion in Policy 527 applies even to visiting family

members. There is no written exception to allow someone to visit a family member at one of these

residences when applying the criteria in K.S.A. 21-6313.96 People designated as gang members

are subject to restrictions on associating with family members who are also designated as gang

members, which could result in them being unable to live with family members.97

        F.       Lack of Due Process Afforded to Individuals Listed in the Gang Database

        No Notice of Inclusion in Gang Database

        55.      The WPD does not provide notice to any adult designated as a gang member or

gang associate of their inclusion in the Gang Database,98 nor do they notify adults when the WPD

renews their inclusion in the Database, or moves them from inactive to active.99

        56.      Policy 527 only requires that officers attempt to notify the parents or guardians of

juveniles when the WPD adds the juvenile to the Gang Database.100 The WPD’s attempts are

demonstrably unsuccessful, managing to notify no more than 50% of juveniles (or the parents or

guardians thereof).101

        57.      Failure to notify individuals designated as gang members and associates in the

Gang Database creates inaccuracies. For this very reason, other U.S. law enforcement departments

with similar gang databases do have notification and removal processes.102




96
   Ex. 7, Beard 30(b)(6) Dep. 117:24–119:7.
97
   Ex. 2, Beard Dep. 249:10–250:15; see also Ex. 32, De Hoyos Decl. ¶¶ 10-11; Ex. 23, Hartman Decl. ¶¶ 8, 10; Ex.
30, Bales Decl. ¶¶ 9, 11; Ex. 33, Strickland Decl. ¶¶ 9, 11; Ex. 31, Hang Decl. ¶¶ 9, 11.
98
   PTO Stip. ¶¶ 28-29; Ex. 36, Hemmert Dep. 143:23–144:5; Ex. 2, Beard Dep. 135:11-22; Ex. 3, Bartel Dep. 129:7-
18; Ex. 34, Speer Dep. 110:15-18; Ex. 18, Salcido Dep. 239:9-21; Ex. 12, Defs.’ Resp. to Pls.’ First Req. for Admis.
Nos. 26–28.
99
   Ex. 7, Beard 30(b)(6) Dep. 23:3–27:9; see also PTO Stip. ¶¶ 28-29.
100
    Ex. 4, Policy 527, at 3; see also Ex. 56, Juvenile Notice Attempt Log; PTO Stip. ¶¶ 30-31.
101
    Ex. 56, Juvenile Notice Attempt Log; PTO Stip. ¶ 33.
102
    Ex. 13, Muñiz Dep. 43:13–44:1, 45:19-22, 45:22-25.

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      Case 6:21-cv-01100-EFM                Document 207            Filed 09/29/23        Page 18 of 85




        No Opportunity to Challenge Inclusion in the Gang Database

        58.      The WPD does not afford individuals added to or included in the Gang Database

as gang members or associates with an opportunity to challenge their inclusion.103

        59.      The City recognizes that there should be a procedural application for removal from

the Gang Database, but no such procedure exists.104

        60.      In 2021, Deputy Chief Salcido proposed revisions to Policy 527 that would create

a new process for providing notice to those added to the Gang Database and allowing individuals

to petition for removal from the Gang Database.105 However, Lt. Jason Bartel, the Gang Unit

commander at the time, was opposed to making the changes and argued to Deputy Chief Salcido

that his proposed changes could not be made because those changes would require additional

resources and because of this lawsuit.106 The City of Wichita and the Fraternal Order of Police also

reacted with hostility and resentment toward Deputy Chief Salcido’s recommendations, and his

recommendations were ultimately never adopted.107 Even now, the WPD has no plans to change

its policies to address these due process problems.108

        61.      Under the WPD’s current practices, individuals included in the Gang Database who

have not had any documented gang activity in three years are changed to “inactive” status, but they

are not removed from the Database. Deputy Chief Salcido has never heard of anyone “completely

dropping off the list and not being inactive,” and the only time he had heard of someone being



103
    PTO Stip. ¶ 36; Ex. 14, Inkelaar Dep. 152:17–153:12; Ex. 18, Salcido Dep. 244:21–246:15, 313:24–314:13; Ex.
34, Speer Dep. 108:20–109:5; Ex. 12, Defs.’ Resp. to Pls.’ First Req. for Admis. Nos. 33, 34; Ex. 19, E-mail from C.
Beard to C. Pinkston (Apr. 19, 2021 2:39 PM); Ex. 31, Hang Decl. ¶ 8.
104
    Ex. 7, Beard 30(b)(6) Dep. 21:24–22:19, 55:19–56:4; PTO Stip. ¶¶ 36-38.
105
    Ex. 18, E-mail from J. Salcido to G. Ramsay (Sept. 24, 2021 3:54 PM); see also Ex. 10, Baird 30(b)(6) Dep. 64:3-
9.
106
    Ex. 10, Baird 30(b)(6) Dep. 72:7–74:16.
107
    Ex. 18, Salcido Dep. 103:4–104:4, Ex. 22, Ramsay Dep. 114:5-24; Ex. 57, Ramsay Right to Sue Letter; Ex. 9, E-
mail from J. Salcido to G. Ramsay (Sept. 24, 2021 3:54 PM)
108
    Ex. 7, Beard 30(b)(6) Dep. 16:2–17:1.

                                                        18
      Case 6:21-cv-01100-EFM              Document 207          Filed 09/29/23        Page 19 of 85




“removed” from the Master Gang List was when the WPD misattributed something to the incorrect

person due to similar names.109

        Insufficient Audit Process

        62.      The WPD claims to engage in a yearly audit process that begins with examining

the Master Gang List and then revising the Gang Database accordingly to mark active gang

members and associates as inactive, incarcerated, or deceased.110 However, the WPD’s standard

operating procedure on the audit process does not provide any guidance on how to apply the

statutory criteria .111

        63.      Deputy Chief Salcido repeatedly acknowledged the lack of any methodology in the

audit,112 which is unusual even when compared to the audit processes of other U.S. law

enforcement agency gang databases.113

        64.      The WPD’s yearly audit does not include a determination on whether the gangs in

the Gang Database continue to meet the criteria of K.S.A. 21-6313 for eligibility as a “criminal

street gang.”114 Some gangs listed in the Gang Database may no longer meet the criteria for a

“criminal street gang” under K.S.A. 21-6313.115

        G.       Policy 527’s Limitations on Expressive and Associative Activity




109
    Ex. 18, Salcido Dep. 136:5–137:6, 231:5–233:15; see also PTO Stip. ¶¶ 37-38.
110
    Ex. 20, SOP for Entries into the Gang Database, at WICHITA 028990; Ex. 2, Beard Dep. 42:10-12, 81:13–82:8,
85:18–86:13, 87:25–90:11; Ex. 8, Gilmore Dep. 97:18–101:7, 122:6–123:21, 125:12–131:15; see also Ex. 2, Beard
Dep. 98:23–99:3, 135:1-10; Ex. 13, Muñiz Dep. 42:2-17.
111
    Ex. 18, Salcido Dep. 50:22–51:20, 116:13–117:17, 128:5-18; Ex. 7, Beard 30(b)(6) Dep. 238:7–239:9; Ex. 8,
Gilmore Dep. 124:11–18, 130:19–23, 152:20–153:15.
112
    Ex. 18, Salcido Dep. 50:22–51:20.
113
    Ex. 13, Muñiz Dep. 42:2–43:8. See, e.g., Ex. 16, Selected Gang Database Entries, at WICHITA 053188–89 (not
marking individual as “inactive” until over five years after the anticipated inactive date).
114
    Ex. 7, Beard 30(b)(6) Dep. 237:2–239:9.
115
    Id. at 241:24–242:7.

                                                     19
      Case 6:21-cv-01100-EFM              Document 207           Filed 09/29/23        Page 20 of 85




        Expressive Limitations

        65.      The criteria for designating someone as a member of a criminal street gang target

expressive conduct. For example, “clothing” is a prominent criterion for documenting people as

gang members or associates.116

        66.      Almost any color can be a gang color for meeting state criteria. According to one

officer, this includes North Carolina blue, dark blue, red, green, black, brown, yellow, and

orange.117 Others have considered blue,                                                        , and the color

combinations of

                                                           to be associated with criminal street gangs.118

        67.      WPD personnel have considered clothing and tattoos related to the following sports

teams and locations as associated with criminal street gangs:




                                                                    . WPD personnel associate clothing

and/or tattoos for some of these teams with multiple different gangs, including rival gangs.119


116
    E.g., Ex. 8, Gilmore Dep. 51:6-15.
117
    Id. at 143:24–144:19.
118
    Id. at 144:2-16; Ex. 11, McKenna Dep. 139:9–15; e.g., Ex. 58, Wichita Street Gangs: Gang Identification and
Introduction to Criminal Street Gang Investigation Presentation, at WICHITA 089508, WICHITA 089516, WICHITA
089552, WICHITA 089568, WICHITA 089578, WICHITA 089592; Ex. 59, Street Gangs in Wichita Presentation, at
WICHITA 088461, WICHITA 088467, WICHITA 088472–76, WICHITA 088478, WICHITA 088480, WICHITA
088482–83, WICHITA 088485, WICHITA 088488–90, WICHITA 088492, WICHITA 088494–96, WICHITA
088499, WICHITA 088501–03, WICHITA 088505, WICHITA 088507, WICHITA 088509, WICHITA 088511; Ex.
60, Wichita Gang Unit 2003 Basic Gang Manual, at 5–12.
119
    Ex. 59, Street Gangs in Wichita Presentation, at WICHITA 088460, WICHITA 088462, WICHITA 088467–68,
WICHITA 088477–78, WICHITA 088480, WICHITA 088488, WICHITA 088490, WICHITA 088494, WICHITA
088496; Ex. 60, Wichita Gang Unit 2003 Basic Gang Manual, at 6–7, 9; Ex. 61, Wichita Police Department Street
Gang Awareness 2011 at WICHITA 033288–91; Ex. 62, Selected TOPS Cards, at WICHITA 035369; Ex. 63, Wichita
Street Gang Identifiers; Ex. 64, 2012 – General Gang Info.

                                                      20
      Case 6:21-cv-01100-EFM             Document 207          Filed 09/29/23       Page 21 of 85




        68.     WPD personnel have considered at least the numbers

                                                                                 ; the phrases



      ; and the symbols of a



              to be associated with criminal street gangs. WPD personnel associate many of these

numbers, phrases and symbols with multiple different gangs.120

        69.     The WPD trains its officers to consider certain types of tattoos to be “gang-related.”

These include tattoos expressing statements of support for individuals (“             ”), ethnic identities

(                                 ), neighborhoods or locations (

                       ), and political opinions (

                        ).121

        70.     If three individuals wear common colors or symbols, and one of them commits a

crime, that would be sufficient for the WPD to consider all three to be a gang in Wichita.122 WPD

has identified new purported criminal street gangs based on clothing, hand signs, and social media

postings without reference to any criminal activity.123

        71.     No policy or authority defines or limits the number or variety of “style[s] of dress,”

“color[s],” “hand signs,” or “tattoos,” as used in K.S.A. 21-6313(b)(2)(E), that WPD personnel




120
    Ex. 63, Wichita Street Gang Identifiers.
121
    See, e.g., Ex. 59, Street Gangs in Wichita Presentation, at WICHITA 088460, WICHITA 088468, WICHITA
088467, WICHITA 088486, WICHITA 088488, WICHITA 088490, WICHITA 088496, WICHITA 088505,
WICHITA 088514–44, WICHITA 088519, WICHITA 088529, WICHITA 088533; see also Ex. 44 Wichita Gang
Data Base Presentation, at WICHITA 085572–75 (discussing gang graffiti with image of “          ” graffiti);
see also Ex. 16, Selected Gang Database Entries, at WICHITA 053925 (noting              ).
122
    Ex. 2, Beard Dep. 156:5–158:9.
123
    See, e.g., Ex. 28, October 2011 Gang Bulletin Leak Documents, at WICHITA 079849–51.

                                                     21
      Case 6:21-cv-01100-EFM                 Document 207            Filed 09/29/23         Page 22 of 85




may consider to be associated with criminal street gangs when designating persons as criminal

street gang members or associates.124

         72.      The WPD does not make available to the general public any list or other

documented designation of the styles of dress, colors, hand signs, or tattoos that it considers to be

affiliated with gang membership or association.125 And even one article of clothing of a sufficient

color could meet WPD’s standard for wearing particular clothing/dress associated with a gang.126

         73.      At least one WPD officer admitted that the criteria for identifying a particular style

of dress as indicative of gang status is outdated, broad, and unclear. Det. Thatcher acknowledged

that many gang members no longer adhere to specific dress styles.127

         74.      Deputy Chief Salcido acknowledged that he himself could have been considered an

associate because he had friends in a peer group and football teammates who were gang members.

As a youth, a WPD officer once thought Deputy Chief Salcido was a gang member based on how

he was dressed.128

         75.      Likewise, the WPD renewed one individual in the Gang Database for “wearing a

               hoodie” when arrested for traffic charges.129 And the WPD renewed Progeny Youth

Leader A.M. in the Gang Database for wearing a                          hat to the Wichita East High School

graduation.130 The WPD renewed another individual in the Gang Database for posting Facebook

photos of himself wearing “gang colors and a                                hat with an         .”131




124
    Ex. 52, Thatcher Dep. 96:12–97:8.
125
    Ex. 7, Beard Dep. 78:15–79:11; Ex. 12, Defs.’ Resp. to Pls.’ First Req. for Admis. No. 8.
126
    Ex. 18, Salcido Dep. 183:8–185:5.
127
    Ex. 52, Thatcher Dep. 96:12–97:8.
128
    Ex. 18, Salcido Dep. 56:2–62:20.
129
    Ex. 16, Selected Gang Database Entries, at WICHITA 006000.
130
    Id. at WICHITA 024375.
131
    Id. at WICHITA 051765.

                                                         22
        Case 6:21-cv-01100-EFM              Document 207           Filed 09/29/23         Page 23 of 85




          Associational Limitations

          76.     The WPD primarily uses individuals’ social relationships with purported gang

members or associates to add or renew those individuals’ status in the Gang Database.132 The Gang

Database entries and TOPS cards for the individual Plaintiffs and Progeny staff reveal a strong

focus on their relationships with others.133

          77.     The definition of the phrase “associates with known criminal street gang members”

in K.S.A. 21-6313 depends entirely on the situation at hand and what information is available to

the officer.134 There is no WPD document or policy that defines what it means to “associate” with

another person in the Gang Database.135 Lt. Jeffrey Gilmore, for example, interprets “association”

to mean “hanging out with,” being “in cars with,” or being “friends” with others in the Database.

          78.     Neither K.S.A. 21-6313 nor Policy 527 identify the number or nature of interactions

a person must have with a known gang member to meet the definition of “associating.”136

          79.     K.S.A. 21-6313’s criterion of being “in the company of a gang member” could be

met by virtue of being a family member, neighbor, or friend of a purported gang member.137 People

can satisfy the K.S.A. 21-6313 criterion “by accident” or by “coincidence,” such as in the case

where “your brother is a gang member, your father is a gang member, or your grandfather is a

gang member. It happens.”138



132
      See Ex. 44, Wichita Gang Data Base Presentation, at WICHITA 085578 (listing
                    as the “main sources of identification”).
133
    Ex 16, Selected Gang Database Entries. See also, e.g., Ex. 62, Selected TOPS Cards, at WICHITA024371–72
(Progeny Youth Leader A.M. nominated for appearing in a video with other purported gang members, for being
Facebook friends with other supposed gang members, and for being a passenger in car driven by his cousin, allegedly
identified as a member of a rival gang), WICHITA 024419 (nominating Progeny Youth Leader D.B. based exclusively
on his choice of companions), WICHITA 024423 (same).
134
    Ex. 3, Bartel Dep. 142:7-24.
135
    Ex. 8, Gilmore Dep. 139:1-14.
136
    Ex. 11, McKenna Dep. 140:12–141:6; Ex. 14, Inkelaar Dep. 112:10-24.
137
    Ex. 22, Ramsay Dep. 61:9-24.
138
    Ex. 8, Gilmore Dep. 140:24–141:22.

                                                        23
      Case 6:21-cv-01100-EFM               Document 207          Filed 09/29/23        Page 24 of 85




        80.      Former Deputy Chief Wanda Parker-Givens testified that she has never been to the

homes of her niece or nephew because she fears being associated with them. She also fears giving

rides to children that she coaches due to possible association and placement in the Gang

Database.139 Former Deputy Chief Parker-Givens also told former Chief Ramsay that she was

worried about being seen with a family member listed in the Gang Database.140

        81.      Former Capt. Nicholson also testified that people in the community are afraid to

ride in a vehicle with their own family members because of the potential for being included in the

Gang Database as a result.141

        82.      WPD officers also track and surveil the social and recreational activities of certain

members of the Wichita community to bolster inclusion of those individuals in the Gang Database.

For example, the WPD uses social media as an investigative tool to find further purported proof

of gang affiliation.142 If a purported gang member does not have social media, the WPD might

look at the person’s girlfriend’s account.143

        83.      The WPD also documents the names of all individuals who attend certain concerts

in the Gang Database and police reports.144

        84.      The WPD regularly surveils funerals and uses officers’ observations to add or

renew individuals in the Gang Database.145 Officers frequently rely on the presence of other




139
    Ex. 37, Parker-Givens Dep. 62:22–63:13.
140
    Ex. 22, Ramsay Dep. 55:8-15.
141
    Ex. 5, Nicholson Dep. 118:8-16.
142
    PTO Stip. ¶ 41; see supra PSOF ¶¶ 49-50, 70.
143
    Ex. 34, Speer Dep. 135:17–137:12; see also Ex. 65, Layton Dep. 90:2-15.
144
    Ex. 36, Hemmert Dep. 145:20-25, 147:3-14. See, e.g., Ex. 16, Selected Gang Database Entries, at WICHITA
023978, WICHITA 024146, WICHITA 053214; Ex. 15, Selected E-mails between WPD and Outside Agencies, at
WICHITA 096006–07.
145
    See, e.g., Ex. 52, Thatcher Dep. 31:11–35:5, 39:7-42:22; Ex. 16, Selected Gang Database Entries, at WICHITA
053496 (renewed for being observed at funeral by gang officers), WICHITA 053609 (renewed twice for attending
funerals with other gang members present), WICHITA 053645 (renewed for attending the funeral of a purported gang
member), WICHITA 030074 (same), WICHITA 053214 (renewed for attending alleged Blood member Elbert Jr.’s

                                                      24
      Case 6:21-cv-01100-EFM                 Document 207            Filed 09/29/23         Page 25 of 85




purported gang members as evidence of gang affiliation, but the WPD has also renewed individuals

for merely attending the funeral of a purported gang member, with no other alleged members’

presence noted.146

         H.       Impact of Inclusion in Gang Database

         85.      Pursuant to K.S.A. 21-6316, if an individual designated as a criminal street gang

member or associate in the Gang Database is arrested for a person felony, that individual is subject

to an enhanced default minimum of $50,000 cash or surety bail. This default minimum applies

regardless of the nature of the felony or whether it is alleged to be gang-related.147

         86.      Evidence of purported gang membership may be introduced against a designated

individual even when not directly relevant to the charged offense.148

         87.      When a person in the Gang Database is sentenced to probation or released on parole

or pre-trial, they must abide by additional special conditions (“gang conditions”), including early

curfews, staying away from certain people or places, and other restrictions on associative and

expressive conduct.149 Gang conditions can be imposed even if the charged offense or the facts of

the case have little or nothing to do with gang activity.150

         88.      The WPD plays an active role in determining gang conditions of release and their

application to individuals, collaborating closely with other government agencies and even drafting



funeral, and also for attending the funeral of an alleged Crip member); Ex. 15, Selected E-mails between WPD and
Outside Agencies, at WICHITA 095675.
146
  Ex. 16, Selected Gang Database Entries, at WICHITA 053645, WICHITA 030074.
147
    K.S.A. 21-6316; Ex. 32, De Hoyos Decl. ¶ 8; Ex. 23, Hartman Decl. ¶ 6; Ex. 30, Bales Decl. ¶¶ 5, 7-8; Ex. 33,
Strickland Decl. ¶¶ 7-8; Ex. 31, Hang Decl. ¶ 7.
148
    PTO Stip. ¶ 45; Ex. 32, De Hoyos Decl. ¶ 13; Ex. 30, Bales Decl. ¶ 13; Ex. 33, Strickland Decl. ¶ 13; Ex. 31, Hang
Decl. ¶ 13.
149
    Ex. 32, De Hoyos Decl. ¶¶ 10-12; Ex. 23, Hartman Decl. ¶¶ 8-10; Ex. 30, Bales Decl. ¶¶ 9-12; Ex. 33, Strickland
Decl. ¶¶ 9-12; Ex. 31, Hang Decl. ¶¶ 9-12; Ex. 66, Sample Gang Conditions of Release; see also Ex. 15, Selected E-
mails between WPD and Outside Agencies, at WICHITA 095050.
150
    See Ex. 32, De Hoyos Decl. ¶¶ 4-5, 11; Ex. 23, Hartman Decl. ¶¶ 3, 10; Ex. 30, Bales Decl. ¶¶ 4-5, 11; Ex. 33,
Strickland Decl. ¶¶ 4, 11; Ex. 31, Hang Decl. ¶¶ 4, 11; see also Ex. 66, Sample Gang Conditions of Release.

                                                         25
      Case 6:21-cv-01100-EFM                 Document 207            Filed 09/29/23          Page 26 of 85




policies for them.151 Other agencies rely heavily on the WPD’s determination that someone is a

gang member when imposing and enforcing these conditions.152

         89.      Gang conditions have included “mapping” individuals listed as gang members, i.e.,

prohibiting them from entering large geographic zones at certain times of the day.153 The Sedgwick

County Department of Corrections (“SCDOC”) instituted this program in 2019 with input from

the WPD, and both agencies collaborated in the program’s function.154 The City paused the

mapping program in mid-2022, in large part because of this lawsuit.155

         90.      The WPD created a specialty unit, initially called the TOPS Unit, specifically to

monitor people in the Gang Database who were subject to parole and probation conditions.156 The

goal was—and remains to this day—to “absolutely” put people in the Gang Database back behind

bars if they are found to violate any probation or parole conditions, even those wholly unrelated to

gang activity, such as having a drink or not meeting curfew.157


151
    Ex 67, Selected Gang Conditions E-mails, at WICHITA 047462–71 (SCDOC employee seeking input from WPD
                                            ), WICHITA 081321–22 (SCDOC officer asking various law enforcement
officers, including WPD, to “                                                                              ”),
WICHITA 098750 (WPD officer recommending gang conditions for an individual to Sedgwick County prosecutor);
Ex. 32, De Hoyos Decl. ¶ 9.
152
    See, e.g., Selected Gang Conditions E-mails, at WICHITA 047454–55 (attaching SCDOC gang conditions policy
                                                                                       ), WICHITA 097964–65
(“
                                                                                                           ”);
WICHITA 121147–48 (“
          ”); Ex. 15, Selected E-mails between WPD and Outside Agencies, at WICHITA 080535–37 (responding to
“                     ” request from KDOC), WICHITA 080650–51 (providing photos and gang status to KDOC for
                                       ), WICHITA 105928–29.
153
    See, e.g., Ex. 53, Selected Gang Mapping Documents, at WICHITA 047445–46 (“
                                                                                                             ”
(emphasis original)), WICHITA 079679–80, WICHITA 098334 (“

           ”). But see id. at WICHITA 109547 (
                                       ).
154
    Id. at WICHITA 047401, WICHITA 047444, WICHITA 047449.
155
    Def.’s Resp. to Mot. for Class Cert., Doc. 187, at 15 (citing Ex. 7, Beard 30(b)(6) Dep. at 187:3-5, 190:10-19; Ex.
2, Beard Dep. at 253:22–255:9); Ex. 7, Beard 30(b)(6) Dep. at 188:11–189:22. But see Ex. 53, Selected Gang Mapping
Documents, at WICHITA 120201 (approximately 32 gang members eligible for mapping).
156
    Ex. 6, Easter Dep. vol. I 39:17–40:11, 44:18–46:12.
157
    Id. at 39:20–40:11, 48:12-18; see also Ex. 4, Policy 527, at 1; Ex. 15, Selected E-mails between WPD and Outside
Agencies, at WICHITA 095378 (agreeing to provide Mr. Cooper’s and another’s Gang Database information in order

                                                         26
      Case 6:21-cv-01100-EFM                Document 207            Filed 09/29/23         Page 27 of 85




        91.      Those who have been designated as gang members or associates and subjected to

gang conditions have found it difficult to comply with the gang conditions, particularly those that

prevent them from associating with friends and family. Complying with the associational

restrictions is especially difficult because a person may not know—and may never find out—

whether they have been included in the Gang Database, thus those around them who are subject to

gang conditions can unknowingly violate those conditions.158

        92.      Designation in the Database carries consequences beyond probation and parole

conditions. For example, a criminal defendant who is otherwise eligible for deferred prosecution

under the Sedgwick County Drug Court Program, or other diversion programs, is disqualified if

that defendant has a current gang affiliation under Kansas law.159 Councilmember Brandon

Johnson spoke of a former gang member who tried to enter a contract with artists for an event, and

law enforcement encouraged the artists to break the contract because they believed he was a gang

member and would cause trouble.160 Councilmember Johnson also testified that he knew someone

on the Gang List who had been denied housing because the WPD interfered with the landlord

negotiations.161

        I.       Targeting of Minority Communities and Community Distrust in the WPD

        93.      Former Deputy Chief Parker-Givens testified that as an African American female

who coached and attended church in the community, she was concerned that simply being seen




to return M. Costello to prison for violating gang conditions), WICHITA 096577 (“I am not sure of his probation
stipulations but he has always been a pain in our but[t] and would be nice to get him revoked if possible.”).
158
    Ex. 32, De Hoyos Decl. ¶ 11; Ex. 23, Hartman Decl. ¶ 10; Ex. 30, Bales Decl. ¶ 11; Ex. 33, Strickland Decl. ¶ 11;
Ex. 31, Hang Decl. ¶ 11.
159
    Ex. 68, Drug Court Eligibility Criteria.
160
    Ex. 69, Johnson Dep. 52:3–54:18.
161
    Id. at 88:1-7.

                                                        27
      Case 6:21-cv-01100-EFM             Document 207          Filed 09/29/23        Page 28 of 85




with one of her nieces or nephews in the wrong zip code could lead to her being placed in the Gang

Database and cause issues for her career.162

        94.     Councilmember Johnson has friends who are in the Gang Database and whom the

WPD has pulled over for no apparent reason,163 and has personally witnessed law enforcement

harassing individuals at places like the QuikTrip on 13th and Oliver for supposedly being gang

members when they were not.164

        95.     The Gang Unit once mistook a historically Black fraternity (Kappa Alpha Psi) as a

gang because the fraternity’s colors are crimson and cream. The Gang Unit believed that the

fraternity’s planned gathering was a gang party. Fraternity members attending the event included

respected members of the community, including medical doctors. Former Capt. Nicholson had to

explain the differences between Bloods and the fraternity to the Gang Unit.165

        J.      The Gang Database’s Impact on Progeny

        96.     Progeny is a putative class representative in this class action suit.166

        97.     A small executive staff and team of Youth Leaders run Progeny. Progeny works

with and employs individuals in the Gang Database, and its members have suffered harms from

inclusion in the Gang Database. Progeny staff members and Youth Leaders are either listed

themselves or have family members and friends who are listed in the Gang Database.167




162
    Ex. 37, Parker-Givens Dep. 58:18–59:03.
163
    Ex. 69, Johnson Dep. 12:6-21.
164
    Id. at 66:21–67:4; see also Ex. 70, Criminal Investigation Record of surveillance and traffic stop.
165
    Ex. 5, Nicholson Dep. 147:7–148:10.
166
    Plfs.’ Mot for Class Cert., Doc. 175.
167
    PTO Stip. ¶ 57; Ex. 71, Decl. of Marquetta Atkins ¶ 5; Ex. 16, Selected Gang Database Entries, at WICHITA
024374–76, WICHITA 024424–26, WICHITA 047528–30.

                                                     28
      Case 6:21-cv-01100-EFM                 Document 207            Filed 09/29/23          Page 29 of 85




         98.      Progeny staff and Youth Leaders have been included in the Gang Database based

on their clothing color, use of hand signs, social media activity, and “association” with others.168

The four Progeny staff added to the Gang Database are not active gang members.169

         99.      Progeny staff member D.B.W. has been subjected to pretextual stops based on the

identity of his companions.170 Progeny Youth Leader D.B.’s inclusion in the Gang Database has

been based at least in part on the identity of his companions, including school friends.171 Progeny

Youth Leader A.M. has been subjected to pretextual stops, and the WPD monitors his social

media.172 Progeny Youth Leader K.C. was added to the Gang Database as a juvenile, but the

WPD’s apparent single attempt to notify her parent of that fact via certified mail was

unsuccessful.173 At least as recently as October 21, 2019, the WPD provided information to

SCDOC that D.B., K.C., and A.M. were gang members.174

         100.     Progeny members and staff have experienced repeated harassment by WPD

officers, including being pulled over while on their way to school or work and questioned about

gang activity.175 As recently as August 2023, a WPD patrol car followed a Progeny staff member


168
    Ex. 16, Selected Gang Database Entries, at WICHITA 024374–76, WICHITA 024424–26, WICHITA 047528–30.
169
    Ex. 71, Atkins Decl. ¶ 5.
170
    Ex. 62, Selected TOPS Cards, at WICHITA 047524–25; see also id. at WICHITA 047526–27 (only criterion
marked is “professional LEO identification” but the notes say only that they were arrested for stolen property).
171
    Ex. 62, Selected TOPS Cards, at WICHITA 024419–23. The TOPS card Bates stamped as WICHITA 024419 is
particularly concerning for its errors, inconsistency, and lack of detail. Despite the nominating officer checking the
criterion of “professional LEO identification,” the narrative says nothing about any other law enforcement officer
positively identifying D.B. as a member or associate of any gang. Instead, the narrative focuses only on the driver,
who “denied affiliation with any gang” but apparently struck the nominating officer as a gang member based on his
            shirt and shoes and     shorts.
172
    Ex. 62, Selected TOPS Cards, at WICHITA 024371–73; Ex. 72, Progeny’s Second Suppl. Resp. to Interrog. No.
9; Ex. 73, Facebook Messages.
173
    Ex. 74, E-mail from C. Carson to C. Beard (Sept. 8, 2022 1:22 PM); Ex. 76, Juvenile Notification List (juvenile
notification mailed to K.C.’s parent on an unknown date but returned 6/28/2017).
174
    Ex. 15, Selected E-mails between WPD and Outside Agencies at WICHITA 104869, WICHITA 104878,
WICHITA 104889, WICHITA 104898.
175
    Ex. 71, Atkins Decl. ¶ 16; Ex. 73, Pl. Progeny’s Second Suppl. Resp. to Def.’s Interrog. No. 9; see also, e.g., Ex.
15, Selected E-mails between WPD and Outside Agencies, at WICHITA 093274–75 (listing separate traffic stops of
Progeny Youth Leaders D.B. and A.M, with protective sweeps resulting in nothing found); Ex. 29, Selected WPD
Affidavits, at WICHITA 099299–301 (attesting to stop of A.M. because they recognized his vehicle); Ex. 76, Progeny
Staff Text Messages; Ex. 77, Progeny Facebook Post; Ex. 73, Facebook Messages.

                                                         29
      Case 6:21-cv-01100-EFM              Document 207           Filed 09/29/23        Page 30 of 85




driving from the Progeny office to his destination, changing lanes twice when he did. The

following morning, the same staff member awoke to find a WPD patrol car parked outside his

home.176

        101.     The WPD has requested that Progeny hold an event for Youth Leaders to meet with

new officers, but the event did not take place because Youth Leaders did not feel comfortable with

the possibility of being profiled when around police.177

        102.     Because Progeny members and Youth Leaders are in the Gang Database, they are

subject to enhanced criminal charges and consequences, including the admission of highly

prejudicial Gang Database information as evidence in criminal proceedings.178

        103.     Because Progeny members and Youth Leaders are in the Gang Database,

attendance at Progeny events where others also in the Gang Database may be present risks

violating probation or parole conditions and could subject Progeny members and staff to an

enhanced bail of over $50,000, even if the offense is not gang related.179

        104.     Progeny achieves its goals by hosting town halls, educating and working with

Kansas state government officials, providing feedback to local and state leaders regarding policy

priorities, organizing youth and community leaders around juvenile justice reform, and publishing

written reports and other documents that translate youths’ insights and needs into calls for

government action.180 Progeny and its members are restricted from achieving these goals through

organizing, conducting, and attending peaceable assemblies because doing so creates grounds for

the WPD to add or renew Progeny members and event attendees in the Gang Database, and to



176
    Ex. 71, Atkins Decl. ¶ 17.
177
    Ex. 71, Atkins Decl. ¶ 14; Ex. 78, Pl. Progeny’s Resp. to Def.’s Interrog. No. 14; Ex. 79, Progeny 30(b)(6)
Dep. 72:12–74:3.
178
    See supra PSOF ¶¶ 32, 85-92; K.S.A. 21-6316; Ex. 4, Policy 527.
179
    K.S.A. 21-6316; see also Ex. 71, Atkins Decl. ¶¶ 7-10.
180
    Ex. 71, Atkins Decl. ¶ 4; Ex. 79, Progeny 30(b)(6) Dep. 15:6-17.

                                                      30
      Case 6:21-cv-01100-EFM                 Document 207             Filed 09/29/23         Page 31 of 85




harass, detain, search, and surveil them pursuant to K.S.A. 21-6313 and Policy 527.181 Progeny

has altered the way in which it approaches its protests and events.182

         105.     For example, in April 2021, Progeny planned to hold a protest at an event where

Governor Laura Kelly would be present. The WPD contacted Progeny before it had a chance to

protest at the event, and Progeny cancelled the protest. That same day, a WPD officer stationed

himself outside the building where Progeny was holding a meeting. Progeny staff had to go outside

to confront the officer stationed to ask him to leave. This caused an interruption in Progeny’s

activities, diverted staff time and attention, intimidated attendees, and caused stress and discomfort

to staff and attendees.183

         106.     As another example, in February 2019, Progeny attempted to hold an event for

community action against violence, but many young individuals would not come into the event

due to the number of police vehicles they saw outside and because of the number of police officers

attending the meeting, in part because of the youths’ fear of being added to the Gang Database.184

Because of the police presence outside of and attendance at the event, some people could not

determine whether Progeny was connected to or collaborating with the police or other law

enforcement, including with respect to the Gang Database. This confusion dissuaded people from

attending or signing up to be a part of Progeny. 185

         107.     K.S.A. 21-6313 and Policy 527 also strongly discourage Progeny from holding in-

person meetings of any kind. Most individuals have no way of knowing whether they are included

in the Gang Database, or whether others affiliated with Progeny are. Meeting in large groups or




181
    Ex. 71, Atkins Decl. ¶¶ 8-15, 19; Ex. 78, Progeny’s Resp. to Def.’s Interrog. Nos. 8, 12, and 13.
182
    Ex. 71, Atkins Decl. ¶¶ 8-14.
183
    Ex. 71, Atkins Decl. ¶ 13; Ex. 78, Progeny’s Resp. to Def.’s Interrog. No. 14.
184
    Ex. 71, Atkins Decl. ¶¶ 11-12; Ex. 78, Progeny’s Resp. to Def.’s Interrog. No. 14.
185
    Ex. 71, Atkins Decl. ¶¶ 11-12.

                                                          31
      Case 6:21-cv-01100-EFM                Document 207           Filed 09/29/23         Page 32 of 85




even one-on-one puts Progeny members at risk of causing each other to be designated as gang

members or associates by the WPD.186

        108.     For individuals whose inclusion in the Gang Database is known or who have in the

past been directly involved in street gang activity, K.S.A. 21-6313 and Policy 527 effectively

forbid Progeny from providing services or support to such persons. Interaction of any kind with

such individuals carries the risk of life-long gang member or associate designation and the many

accompanying legal consequences of that designation.187

        109.     WPD officers continue to target and scrutinize Progeny’s lawful associational

activities. In August 2023, Progeny hosted a juvenile probation focus group meeting, during which

a Progeny staff member observed a WPD officer across the street from Progeny’s offices using

binoculars to surveil the meeting.188

        K.       Chris Cooper’s Inclusion in the Gang Database

        110.     Chris Cooper is a 28-year-old Black resident of Wichita, Kansas. He is a putative

class representative in this class action suit. He has suffered various harms as a result of his

inclusion in the Gang Database.189

        111.     In 2014, Mr. Cooper was a college student at Highland Community College.190 He

had received an athletic scholarship to K-State and was preparing to transfer there.191

        112.     While on summer break from school, Mr. Cooper attended a party, at which an

altercation and shooting occurred. Mr. Cooper ran to his car to leave the party. Unbeknownst to




186
    See Ex. 71, Atkins Decl. ¶¶ 7-9; Ex. 78, Progeny’s Resp. to Def.’s Interrog. Nos. 8, 12, and 13.
187
    Ex. 71, Atkins Decl. ¶¶ 7-10; see supra PSOF ¶¶ 32, 76-79, 85-92.
188
    Ex. 71, Atkins Decl. ¶ 18.
189
    Ex. 80, Cooper Dep. 4:10-13; Plfs.’ Mot for Class Cert., Doc. 175; Ex. 45, Cooper Decl. ¶ 2.
190
    Ex. 80, Cooper Dep. 32:14-22.
191
    Ex. 45, Cooper Decl. ¶ 4; Ex. 80, Cooper Dep. 36:19–37:8; Ex. 81, Cooper Resp. to Def.’s Interrog. No. 12.

                                                        32
      Case 6:21-cv-01100-EFM                Document 207            Filed 09/29/23         Page 33 of 85




Mr. Cooper, one of the individuals riding in Mr. Cooper’s car as he drove away had been involved

in the shooting.192

        113.     In the next few days, Mr. Cooper was arrested and charged with first-degree

murder. Mr. Cooper had no criminal history prior to this event.193

        114.     At his arrest, Mr. Cooper learned for the first time that he had been included in the

Gang Database and had been designated an “active” gang associate since 2015, when he was 18

years old.194 The WPD added (and later renewed) Mr. Cooper to the Gang Database based on his

clothing and his Facebook activity, including photos of him with family members and friends.195

        115.     Mr. Cooper has never been and is not currently involved in or associated with a

criminal street gang in Wichita or anywhere else.196

        116.     The WPD has cited Mr. Cooper’s photographs with family members—including

his uncle, Elbert Costello, and his cousin, Martel Costello—and attendance of his cousin’s funeral

as reasons to extend his three-year active period in the Gang Database.197

        117.     On one occasion, the WPD renewed Mr. Cooper’s active status for attending a wake

for his one-month-old niece, who had died earlier that day.198 WPD officers were surveilling the

wake, and at some point during the wake, someone shot at the house and its attached closed garage,

hitting Mr. Cooper in the leg.199




192
    Ex. 45, Cooper Decl. ¶ 4; Ex. 80, Cooper Dep. 17:22–18:9, 18:24–19:7, 20:22–22:1; Ex. 81, Cooper Resp. to Def.’s
Interrog. No. 3.
193
    Ex. 80, Cooper Dep. 20:3-16, 23:9-22, 38:25–39:11; Ex. 81, Cooper Resp. to Def.’s Interrog. No. 3; see also Ex.
16 Selected Gang Database Entries, at WICHITA 023919.
194
    Ex. 16, Selected Gang Database Entries, WICHITA 023920; Ex. 80, Cooper Dep. 38:25–39:5; PTO Stip. ¶ 55.
195
    Ex. 16, Selected Gang Database Entries, at WICHITA 023919.
196
    Ex. 45, Cooper Decl. ¶ 3; Ex. 80, Cooper Dep. 12:14–13:1, 13:22–14:2; Ex. 81, Cooper Resp. to Def.’s Interrog.
No. 9.
197
    Ex. 16, Selected Gang Database Entries, at WICHITA 023919.
198
    Id. (describing the wake as “a large Blood party”); Ex. 80, Cooper Dep. 66:16–68:24, 71:9–72:2.
199
    Ex. 80, Cooper Dep. 66:16–69:2, 71:9–72:2; see also Ex. 83, M. Costello Dep. 50:1-13.

                                                        33
      Case 6:21-cv-01100-EFM                Document 207            Filed 09/29/23         Page 34 of 85




        118.     When Mr. Cooper was arrested, his bail was set at $50,000 because he was in the

Gang Database. Mr. Cooper remained in jail because he and his family could not afford bail.200

        119.     Eventually, the prosecution offered Mr. Cooper a plea deal: he could plead to

obstruction of justice and accept probation. Ultimately, believing he had no choice, Mr. Cooper

accepted the plea. At that point, he had been detained pretrial in jail for a year.201

        120.     Mr. Cooper lost his scholarship to K-State and has never been able to go back to

college.202

        121.     Following his release, Mr. Cooper was placed on strict probation with gang

conditions. He had a 6 p.m. curfew for over a year. He had to live away from his family because

some of them were in the Gang Database. Mr. Cooper’s enhanced probation conditions forced him

to move away from and cease contact with members of his family. Despite these hard conditions,

Mr. Cooper completed his probation without any violations.203

        122.     Mr. Cooper experiences continuous surveillance and harassment by the WPD. He

has been stopped repeatedly for traffic infractions, almost always for failure to signal within 100

feet of an intersection.204 When officers approach his car, they already know his name and treat

him like a criminal. These pretextual stops ceased after he began driving a car registered to a family

member.205

        123.     When Mr. Cooper was employed at Metro PCS, he was unable to participate in

profitable sales events, including flyering events at certain locations such as the mall, certain

neighborhoods and parks, and the annual Riverfest due to his inclusion in the Gang Database and



200
    Ex. 45, Cooper Decl. ¶¶ 6-7; Ex. 80, Cooper Dep. 62:13-23.
201
    Ex. 45, Cooper Decl. ¶ 8; Ex. 80, Cooper Dep. 62:24–63:18.
202
    Ex. 45, Cooper Decl. ¶ 16; Ex. 80, Cooper Dep. 38:9-24, 65:9–66:15, 76:10-12.
203
    Ex. 45, Cooper Decl. ¶¶ 9-10; Ex. 80, Cooper Dep. 52:25–54:2, 63:14–64:12, 75:7-13.
204
    Ex. 45, Cooper Decl. ¶ 14; Ex. 81, Cooper Resp. to Def.’s Interrog. No. 10; Ex. 80, Cooper Dep. 43:7-14.
205
    Ex. 45, Cooper Dep. 44:9–45:13, 56:19–59:14; Ex. 81, Cooper Resp. to Def.’s Interrog. No. 10, 15.

                                                        34
      Case 6:21-cv-01100-EFM                Document 207           Filed 09/29/23         Page 35 of 85




the potential presence of gang members at those locations.206 Even when working in Metro PCS

storefront locations, Mr. Cooper risked violating probation terms due to potential interactions with

customers or police over which he had no control.207

        124.     Due to those experiences, since that time Mr. Cooper has avoided retail and sales

jobs where he would have to interact with the public and has instead been limited to warehouse

employment.208

        125.     Mr. Cooper applied for a job with Spirit Aerospace that would have been a

promotion in position and salary. He believed that he was going to be offered the job, but after a

background check, he was turned down. Mr. Cooper believes that he was turned down because the

background check identified him as an active gang member.209

        L.       Martel Costello’s Inclusion in the Gang Database

        126.     Martel Costello is a 27-year-old Black resident of Wichita, Kansas. He is a putative

class representative in this litigation. He has suffered various harms as a result of his inclusion on

the Gang Database.210

        127.     Until June 28, 2023, Mr. Costello was incarcerated in the Ellsworth Correctional

Facility due to a probation violation. He was convicted of a marijuana offense and possession of

firearms (his aunt’s gun).211




206
    Ex. 45, Cooper Decl. ¶ 10; Ex. 80, Cooper Dep. 69:13–70:6; Ex. 81, Cooper Resp. to Def.’s Interrog. No. 11.
207
    Ex. 45, Cooper Decl. ¶ 10; Ex. 81, Cooper Resp. to Def.’s Interrog. No. 11.
208
    Ex. 45, Cooper Decl. ¶ 11; Ex. 81, Cooper Resp. to Def.’s Interrog. No. 11.
209
    Ex. 45, Cooper Decl. ¶ 12; Ex. 80, Cooper Dep. 49:21–50:12; Ex. 81, Cooper Resp. to Def.’s Interrog. No. 11.
210
    Ex. 47, M. Costello Decl. ¶ 2.
211
    Ex. 83, M. Costello Resp. to Def.’s Interrog. No. 3; Ex. 82, M. Costello Dep. 29:24–30:6, 51:5-6.

                                                        35
      Case 6:21-cv-01100-EFM                Document 207           Filed 09/29/23         Page 36 of 85




        128.     Mr. Costello learned he was on the Gang List for the first time when he was charged

with these crimes.212 The WPD added Mr. Costello to the Gang Database based on his clothing

and his Facebook activity, including photos of him with friends.213

        129.     Mr. Costello has never been involved in any gang activity and was never told why

he was placed on the Gang List in the first place.214

        130.     In 2016, Mr. Costello’s active status was renewed for another three years simply

because WPD personnel observed him at a concert with his father and two others, all of whom the

WPD believed were gang members.215

        131.     Due to his status on the Gang List, Mr. Costello’s bond amounts were set very high.

His mother had to place her home as collateral in order to bond him out of jail.216

        132.     Mr. Costello was released pre-trial and eventually sentenced to probation.217 While

on probation, he was forced to abide by certain special conditions, due to his designation as a gang

member. These conditions included not having any contact with any other known gang members,

abiding by a strict curfew, and more.218

        133.     While on pretrial release and probation, WPD officers repeatedly harassed Mr.

Costello by subjecting him to multiple traffic stops and searches.219




212
    Ex. 47, M. Costello Decl. ¶¶ 4-5.
213
    Ex. 16, Selected Gang Database Entries, at WICHITA 024147.
214
    Ex. 47, M. Costello Decl. ¶¶ 3-4.
215
    Ex. 16, Selected Gang Database Entries, at WICHITA 024146.
216
    Ex. 47, M. Costello Decl. ¶ 6.
217
    Ex. 82, M. Costello Dep. 30:7-14.
218
    Id. at 43:21–44:17. Ex. 47, M. Costello Decl. ¶ 8.
219
    Ex. 82, M. Costello Dep. 54:23–55:23; Ex. 84, M. Costello Resp. to Def.’s Interrog. No. 13; Ex. 47, M. Costello
Decl. ¶ 9; see also, e.g., Ex. 15, Selected E-mails between WPD and Outside Agencies, at WICHITA 093513–14
(describing stop of M. Costello after leaving a “Blood party” and that a “[p]rotective sweep [was] conducted but no
contraband was located”).

                                                       36
      Case 6:21-cv-01100-EFM                Document 207            Filed 09/29/23         Page 37 of 85




        134.     The WPD’s harassment of Mr. Costello included invasive searches of his residence,

where WPD officers destroyed his property and threw his possessions on the floor.220 During one

such search, WPD officers removed red clothing items from Mr. Costello’s closet and laid it out

on his bed in the shape of a person lying down, resembling the outline of a victim’s body. Mr.

Costello interpreted this to constitute a threat that the WPD intended to cause him physical harm.221

        135.     After experiencing this increased harassment and surveillance, Mr. Costello was

returned to jail on several occasions due to alleged probation violations.222

        136.     According to the police, Mr. Costello once violated his probation because he was

out past curfew by less than ten minutes.223 Mr. Costello received 90 days of house arrest for

violating curfew.224

        137.     Mr. Costello incurred an additional probation violation for attending a wake at his

home for his niece, who died earlier that day.225 Mr. Costello was on house arrest at the time.226

WPD officers were surveilling the wake, and at some point during the wake, someone shot at the

house.227 Mr. Costello was charged with possession of a firearm, and although that charge lacked

evidentiary support and was later dismissed, he was still found to have violated the terms of his

probation.228

        138.     In 2018, the Sedgwick County District Attorney’s Office contacted the WPD,

stating that “we’re trying to get [Mr. Costello] to prison” and requesting that the WPD provide



220
    Ex. 82, M. Costello Dep. 51:7–52:15; Ex. 47, M. Costello Decl. ¶ 10.
221
    Ex. 82, M. Costello Dep. 51:7–52:15; Ex. 47, M. Costello Decl. ¶ 11.
222
    Ex. 82, M. Costello Dep. 36:16–37:4, 39:24–44:25, 54:23–55:23; Ex. 83, M. Costello Resp. to Def.’s Interrog. No.
13; Ex. 47, M. Costello Decl. ¶ 12.
223
    Ex. 82, M. Costello Dep. 44:10-21, 49:15-20; see also Ex. 84, 2019 Journal Entry of Probation Violation Hearing.
224
     Ex. 82, M. Costello Dep. 49:18-25.
225
    Id. at 50:1–51:4; see also Ex. 80, Cooper Dep. 66:16–69:2, 71:9–72:2.
226
    Ex. 82, M. Costello Dep. 50:1-4.
227
    Id. at 50:1-7; see also Ex. 80, Cooper Dep. 66:16–69:2, 71:9–72:2.
228
    Ex. 82, M. Costello Dep. 50:19–51:6.

                                                        37
      Case 6:21-cv-01100-EFM            Document 207          Filed 09/29/23       Page 38 of 85




“gang sheets” for two individuals as evidence that Mr. Costello violated “a bunch of gang

conditions by associating with known gang members.” Lt. Gilmore responded to the prosecutor:

“I will make sure you have them.” One of the two individuals was Christopher Cooper, Mr.

Costello’s cousin.229

        139.    Mr. Costello’s recent incarceration resulted from violating his probation prohibition

on contacts with certain family members by attending his brother’s funeral.230 Police informed Mr.

Costello that he had violated his probation because he was around gang members at his brother’s

funeral.231 Even though Mr. Costello had been released from jail on bond to attend, the WPD

nevertheless renewed him for attending. Despite “

                                                    ,” the WPD

                    ” to monitor the funeral and informed                              .232

        140.    In anticipation of his release from prison, Mr. Costello participated in Ellsworth’s

work release program, which allowed him to leave the prison and relocate to Wichita to perform

maintenance and roadwork for the City of Wichita.233 While on a lunch break during his shift for

the City, Mr. Costello stopped at a convenience store to microwave his food, which is permitted.234

A WPD officer confronted him, stating that he “knew” Mr. Costello and calling him by his first

name. When Mr. Costello attempted to leave, the WPD officer told him to stop and indicated that

he knew Mr. Costello was working for the City.235 The WPD officer made statements that Mr.

Costello understood to be warnings that the WPD would be watching him when he was released.236



229
    Ex. 15, Selected E-mails between WPD and Outside Agencies, at WICHITA 095378.
230
    Id. at WICHITA 101684–85; Ex. 47, M. Costello Decl. ¶ 15.
231
    Ex. 82, M. Costello Dep. 55:17–56:7.
232
    Ex. 16, Selected E-mails between WPD and Outside Agencies, at WICHITA 101684–85.
233
    Ex. 47, M. Costello Decl. ¶ 16.
234
    Ex. 82, M. Costello Dep. 52:19–53:5.
235
    Id. at 53:6-25; 59:22–60:14.
236
    Ex. 47, M. Costello Decl. ¶ 17.

                                                   38
      Case 6:21-cv-01100-EFM               Document 207           Filed 09/29/23        Page 39 of 85




        141.     All of these experiences cause Mr. Costello to fear that WPD officers will harass

or intimidate him in the future, including by approaching him out of the blue now that he has been

released.237

        M.       Elbert Costello’s Inclusion in the Gang Database

        142.     Elbert Costello is a 47-year-old Black resident of Wichita, Kansas. He is a putative

class representative in this litigation. He is currently listed as an “active” gang member in the WPD

Gang Database and has suffered various harms as a result.238

        143.     WPD added Mr. Costello to the Database in 1997, when Mr. Costello was 22.239

        144.     Mr. Costello is not a member of a criminal street gang in Wichita or anywhere

else.240 Mr. Costello has relatives who were involved with gangs, and he believes he was

designated as gang member because of his association with them.241

        145.     Nonetheless, WPD officers believed Mr. Costello to be affiliated with a gang, and

WPD officers have repeatedly suspected Mr. Costello of committing gang-related crimes.242

        146.     In 2011, following a search of his home, Mr. Costello was charged with possession

with intent to distribute. He accepted a plea of possession of paraphernalia and received one year

of probation. Because of the burden of the gang conditions imposed on him, Mr. Costello was

repeatedly found to have violated his probation, ultimately spending six months in jail and

enduring probation restrictions for approximately three years.243




237
    Id. ¶¶ 18-19; Ex. 82, M. Costello Dep. 54:9-11, 54:16-22.
238
    Ex. 16, Selected Gang Database Entries, at WICHITA 023977–80; Ex. 46, Decl. of Elbert Costello ¶ 2.
239
    Ex. 16, Selected Gang Database Entries at WICHITA 023979–80; PTO Stip. ¶ 55.
240
    Ex. 85, E. Costello Dep. 12:11-13:1.
241
    Ex. 46, E. Costello Decl. ¶ 4.
242
    Ex. 26, Easter Dep. vol. II 7:22–9:1.
243
    Ex. 86, E. Costello Suppl. Resp. to Def.’s Interrog. No. 11.

                                                       39
      Case 6:21-cv-01100-EFM                  Document 207            Filed 09/29/23   Page 40 of 85




         147.     Both during and following his probation and parole, Mr. Costello was subjected to

increased surveillance and harassment by WPD officers.244 Mr. Costello was—and continues to

be—routinely stopped by the WPD for minor traffic violations. WPD officers routinely pull Mr.

Costello over for infractions such as “not signaling within 100 feet,” and then subject Mr. Costello

to invasive questioning.245

         148.     While Mr. Costello was on probation, the police would search his car anytime he

was stopped because he was on the Gang List and subject to special gang conditions of release.246

         149.     Mr. Costello also avoids visiting certain businesses or establishments in his

community—including gas stations—that he believes the WPD sees as “gang hangouts.”247

         150.     The Gang Database record for Mr. Costello includes dozens of entries pertaining to

his actions over the last 25 years. The majority of those entries concern photos of him on Facebook

or notations of him socially interacting with others on the Gang List. Each instance has led to Mr.

Costello being “renewed” in the Gang Database for an additional three years as an “active gang

member.”248 For example, Mr. Costello’s active status was once renewed for another three years

because WPD personnel observed him at a concert with his son Martel Costello and two others,

all of whom the WPD believed were gang members.249

         151.     Mr. Costello’s Gang Database entry also contains notes about his tattoos that the

WPD believes are gang-related.250




244
    Ex. 85, E. Costello Dep. 25:3-7.
245
    Id. 27:9-16; Ex. 86 E. Costello Suppl. Resp. to Def.’s Interrog. No. 11.
246
    Ex. 46, E. Costello Decl. ¶ 7.
247
    Ex. 86, E. Costello Suppl. Resp. to Def.’s Interrog. No. 14.
248
    Ex. 16, Selected Gang Database Entries, at WICHITA 023978–79.
249
    Id. at WICHITA 023978.
250
    Id. at WICHITA 023978–79.

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      Case 6:21-cv-01100-EFM               Document 207           Filed 09/29/23        Page 41 of 85




        152.     Mr. Costello’s Gang Database entry also contains several notes about his presence

at various night clubs, despite the WPD’s knowledge that he works as a concert promoter who

works out of clubs.251

        153.     Mr. Costello’s Gang Database entry notes his attendance at five different funerals,

leading the WPD to renew him for attending with other purported gang members present.252 Mr.

Costello was also renewed for attending his grandniece’s wake when a drive-by shooting occurred,

although he was not present during the shooting.253

        154.     The WPD has also renewed Mr. Costello’s three-year “active” period simply for

wearing “gang colors.” Mr. Costello’s Gang Database entry contains a January 16, 2021 notation

that an officer observed Mr. Costello in a photo on social media wearing a red

baseball cap.254 The photo was taken at a funeral for Mr. Costello’s childhood friend.255 Because

the color red is associated with a gang, the WPD deemed this a gang-related activity and extended

Mr. Costello’s period of “active” gang membership until January 2, 2024.256 Similarly, in 2015,

the WPD extended Mr. Costello’s “active” period for another three years simply because he

“posted a photo of himself wearing gang colors,” despite noting in the same entry that he “ha[d]

no new gang cases.”257

        155.     Under the terms of his probation, Mr. Costello was forbidden from wearing certain

clothing colors and from visiting certain places because of his inclusion in the Gang Database.258



251
    Id.
252
    Id.
253
    Compare id. at WICHITA 023978 (noting 4/21/18 shooting incident) with id. at WICHITA 023919 (same) and id.
at WICHITA 024146 (same); see also Ex. 80, Cooper Dep. 66:16–69:2, 71:9–72:2; Ex. 82, M. Costello Dep. 50:1-13.
254
    Ex. 16, Selected Gang Database Entries, at WICHITA 023978.
255
    Ex. 85, E. Costello Dep. 34:7–35:7.
256
    Ex. 16, Selected Gang Database Entries, at WICHITA 023978; see also Ex. 85, E. Costello Dep. 35:1-14; Ex. 87,
E. Costello Resp. to Interrog. No. 13.
257
    Ex. 16, Selected Gang Database Entries, at WICHITA 023978.
258
    Ex. 85, E. Costello Dep. 46:10-17.

                                                       41
      Case 6:21-cv-01100-EFM                 Document 207     Filed 09/29/23    Page 42 of 85




         156.     Mr. Costello received six months of jail time for violating the terms of his

probation. On one occasion, the WPD found that Mr. Costello violated the terms of his probation

by interacting with friends. Mr. Costello neither knew nor believed that his friends were affiliated

with gangs. On another occasion, a probation officer threatened to impose additional sanctions on

Mr. Costello for wearing a shirt with red writing on it.259

         157.     Several years ago, Mr. Costello and his friend organized a community Christmas

party for a family in need at a skating rink. The WPD informed the skating rink that gang members

would be in attendance, and the skating rink cancelled the event.260

         158.     Mr. Costello fears additional harassment and punishment if he attends social and

family gatherings—such as barbecues, family dinners, or funerals—with his family or friends.261

He has avoided interacting with lifelong friends because he knows that associating with others on

the Gang List will renew his own status as an active gang member on the Gang List and can result

in others potentially being classified as gang members or associates.262

         159.     Mr. Costello also fears that the WPD will perceive his certain clothing, tattoos, or

social media activity as gang-related and renew his active status on that basis.

         N.       Jeremy Levy’s Inclusion in the Gang Database

         160.     Jeremy Levy is a 24-year-old Black male from Wichita. He is a putative class

representative in this class action suit. He has suffered various harms as a result of his inclusion in

the Gang Database. 263




259
    Id. at 46:23–47:22, 47:23–48:7.
260
    Id. 41:16–43:17.
261
    Ex. 46, E. Costello Decl. ¶ 14.
262
    Id. ¶ 15; Ex. 85, E. Costello Dep. 32:18–33:11.
263
    Ex. 48, Levy Decl. ¶ 2.

                                                      42
      Case 6:21-cv-01100-EFM               Document 207           Filed 09/29/23         Page 43 of 85




        161.     Mr. Levy is incarcerated at the Hutchison Correctional Facility until at least 2042

following a 2017 conviction of first-degree felony murder, when he was 18 years old.264

        162.     Mr. Levy is not, nor has he ever been, a member or associate of a criminal street

gang in Wichita or elsewhere.265

        163.     Mr. Levy’s Gang Database nomination card indicates that Officer Hemmert

believed Mr. Levy satisfied the criteria of being contacted with other gang members, being arrested

with other gang members, and being identified by a confidential informant.266 Mr. Levy’s Gang

Database entry indicates that the confidential informant who purportedly initially identified him

as a gang member belonged to a rival gang of the gang Mr. Levy supposedly belonged to.267

        164.     In 2017, Mr. Levy was the victim of a drive-by shooting by unknown suspects. The

WPD renewed Mr. Levy’s three-year “active” period based on this incident—even though he was

the victim—because “this is thought to be involved in the ongoing feud” between two gangs.268

        165.     Due to his inclusion on the Gang List, the prosecutor was allowed to introduce

evidence at trial of Mr. Levy’s alleged gang status and multiple alleged “gang incidents” of an

alleged “gang feud” for over six months prior to the alleged incident in which Mr. Levy was

charged.269

        166.     Mr. Levy did not participate in the alleged 13 gang feud events the prosecution

introduced, and maintains that the incident for which he was charged was not gang-related.270




264
    Ex. 88, Levy Dep. 14:12-15, 16:24–17:2, 17:6–18:9; see also Ex. 16, Selected Gang Database Entries, at WICHITA
024322.
265
     Ex. 88, Levy Dep. 20:13-15, 21:1-4; Ex. 89, Levy Resp. to Def.’s Interrog. No. 9; Ex. 48, Levy Decl. ¶ 4.
266
    Ex. 62, Selected TOPS Cards, at WICHITA 036070.
267
    Ex. 16, Selected Gang Database Entries, at WICHITA 024322.
268
    Id.
269
    Ex. 88, Levy Dep. 25:3-19; Ex. 48, Levy Decl. ¶ 5.
270
    Ex. 48, Levy Decl. ¶ 6.

                                                       43
      Case 6:21-cv-01100-EFM               Document 207          Filed 09/29/23        Page 44 of 85




        167.     Inclusion on the Gang List caused Mr. Levy to be denied employment before his

incarceration.271

        168.     When Mr. Levy is released on parole, he will be subject to highly restrictive

supervision conditions that will prevent him from associating with his family and friends.272

                                ARGUMENTS AND AUTHORITIES
I.      Legal Standard

        Summary judgment is appropriate if “the movant shows there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.”273 Federal Rule of

Civil Procedure 56 requires summary judgment “if the pleadings, the discovery and disclosure

materials on file, and any affidavits show that there is no genuine issue as to any material fact and

that the movant is entitled to judgment as a matter of law.”274 Once the movant has met this initial

burden, the burden then shifts to the nonmoving party to “set forth specific facts showing that there

is a genuine issue for trial.”275

II.     K.S.A. 21-6313, et seq. is unconstitutionally vague, in violation of the Fourteenth
        Amendment.

        “A basic feature of Due Process is that a law must clearly define what it prohibits, or

otherwise be held ‘void for vagueness.’”276 Furthermore, “[w]here a law deals with areas of First

Amendment import, there is the additional concern that the uncertain terms will inhibit those First

Amendment freedoms, as ‘citizens [will] steer far wider of the unlawful zone than if the boundaries




271
    Id. ¶ 7; Ex. 88, Levy Dep. 34:10–35:17.
272
    Ex. 88, Levy Dep. 21:12-18, 41:10–42:18; Ex. 2, Beard Dep. 236:21–238:8, 224:20–225:13; Ex. 18, Salcido Dep.
240:16–243:16.
273
    Fed. R. Civ. P. 56(a).
274
    United States ex rel. Smith v. Boeing Co., No. CIV A 05-1073-WEB, 2009 WL 2486338, at *2 (D. Kan. Aug. 13,
2009).
275
    Britvic Soft Drinks Ltd. v. Acsis Tech., Inc., 265 F. Supp. 2d 1179, 1184 (D. Kan. 2003).
276
    Grayned v. City of Rockford, 408 U.S. 104, 108 (1972).

                                                      44
      Case 6:21-cv-01100-EFM                  Document 207            Filed 09/29/23          Page 45 of 85




of the forbidden areas were clearly marked.’”277 K.S.A. 21-6313 defines membership in and

association with a “criminal street gang” using a range of vaguely described characteristics that do

not require a purported gang member to support or even know about the gang itself, nor be involved

in any gang activity.278 Using this statutory definition, state actors can formally label Kansas

residents as “gang members,” subjecting them to myriad injuries and indignities based on the

clothes they choose to wear, the company they choose to keep, and the places they choose to visit.

See PSOF ¶¶ 3, 8-10, 22, 31-32, 47-54, 65-72, 75-92, 98-109, 114, 116-118, 121-125, 130-140,

146-158, 167; infra Section III.A.3. Indeed, the City of Wichita, acting through the WPD, has done

so to Plaintiffs.

         As discussed below, the statutory definitions in K.S.A. 21-6313 and implemented in Policy

527 fail to clearly define the conduct that will result in a resident being labeled a gang member or

gang associate in Kansas, making both the statute and policy void for vagueness.279 The statute

and policy are “impermissibly vague for . . . two independent reasons. First, [they] fail[] to provide

people of ordinary intelligence a reasonable opportunity to understand what conduct [they]

prohibit[]. Second, [they] authorize[] or even encourage[] arbitrary and discriminatory

enforcement.”280 Moreover, as set forth below, K.S.A. 21-6313 and Policy 527 are

unconstitutionally vague both on their faces and as applied to Plaintiffs.281




277
    Dr. John’s, Inc. v. City of Roy, 465 F.3d 1150, 1157 (10th Cir. 2006) (quoting Grayned, 408 U.S. at 109) (alterations
omitted).
278
    See K.S.A. 21-6313 (defining “criminal street gang member” and “criminal street gang associate”).
279
    See Grayned, 408 U.S. at 108; see also Dr. John’s, 465 F.3d at 1157.
280
    Hill v. Colorado, 530 U.S. 730, 732 (2000); see also Chicago v. Morales, 527 U.S. 41, 56–57 (1999); Kolender v.
Lawson, 461 U.S. 352, 357 (1983); Dodger’s Bar & Grill, Inc. v. Johnson Cnty. Bd. of County Comm’rs, 32 F.3d
1436, 1443 (10th Cir. 1994).
281
    See, e.g., Kan. Judicial Review v. Stout, 519 F.3d 1107, 1118 (10th Cir. 2008) (determining plaintiff brought both
a facial and as-applied challenge to statute’s constitutionality).

                                                          45
      Case 6:21-cv-01100-EFM               Document 207           Filed 09/29/23         Page 46 of 85




        A. Plaintiffs are entitled to summary judgment because K.S.A. 21-6313, et seq. is
           unconstitutionally void-for-vagueness on its face.

        Where, as here, an imprecise law implicates First Amendment rights, it is facially invalid

if “the impermissible applications of the law are substantial when ‘judged in relation to the statute’s

plainly legitimate sweep.’”282 But “even if an enactment does not reach a substantial amount of

constitutionally protected conduct, it may be impermissibly vague because it fails to establish

standards for the police and public that are sufficient to guard against the arbitrary deprivation of

liberty interests.”283 K.S.A. 21-6313 is unconstitutionally vague on its face under both standards.

                 1. The scope of impermissibly limited conduct is substantial when compared
                    with any legitimate use of K.S.A. 21-6313.

        On its face, K.S.A. 21-6313 brands Kansans as gang members and associates based on the

exercise of their rights under the First and Fourteenth Amendments. For example, K.S.A. 21-

6313(b) states that a person is a “criminal street gang member” if they meet three or more of the

listed criteria, such as “adopt[ing] [a] gang’s style of dress, color, use of hand signs or tattoos,”284

“frequent[ing] a particular criminal street gang’s area,”285 and “associat[ing] with known criminal

street gang members.”286 Meeting only two such criteria makes a person a “criminal street gang

associate.”287 These criteria encompass conduct protected by the First Amendment rights to

freedom of expression and association, such as symbolic speech (including dress), social media

posts, spending time with family who may be labeled gang members, or attending events where

gang members may be present.288 The criteria also implicate the Fourteenth Amendment rights “to

remove from one place to another according to inclination,” “to remain in a public place of [one’s]


282
    Morales, 527 U.S. at 52 (quoting Broadrick v. Oklahoma, 413 U.S. 601, 615 (1973)).
283
    Id. (citing Kolender, 461 U.S. at 358).
284
     K.S.A. 26-6313(b)(2)(E).
285
     K.S.A. 26-6313(b)(2)(D).
286
     K.S.A. 26-6313(b)(2)(F).
287
     K.S.A. 26-6313(c)(2).
288
     See infra Section III.A.3.

                                                       46
      Case 6:21-cv-01100-EFM                Document 207            Filed 09/29/23   Page 47 of 85




choice,”289 and to form and maintain intimate human relationships, especially with family.290 A

statute may be held facially unconstitutional when its “impermissible applications . . . are

substantial when ‘judged in relation to the statute’s plainly legitimate sweep.’”291 Such is the case

with K.S.A. 21-6313, and it should be struck down as facially overbroad.

                 2. K.S.A. 21-6313 fails to establish constitutional standards to protect liberty
                    interests.

        K.S.A. 21-6313 also should be held unconstitutional as “impermissibly vague because it

fails to establish standards for the police and public that are sufficient to guard against the arbitrary

deprivation of liberty interests.”292 Central to the void-for-vagueness doctrine is “the requirement

that a legislature establish minimal guidelines to govern law enforcement.”293 In enacting K.S.A.

21-6313, the Kansas legislature failed to do so, thereby authorizing “a standardless sweep [that]

allows policemen, prosecutors, and juries to pursue their personal predilections.”294 K.S.A. 21-

6313 fails to establish standards sufficient to notify the public and to guide law enforcement to

avoid arbitrary deprivations of the rights to expression, assembly, expressive and intimate

association, and autonomous movement—and is thus unconstitutionally vague on its face.

                         i.    K.S.A. 21-6313 and Policy 527 fail to make clear what conduct will
                               result in gang designation.

        First, due to the lack of standards in K.S.A. 21-6313, people of “ordinary intelligence” are

not provided an opportunity to understand how they can avoid being marked as gang members by

the state, and the statute is impermissibly vague as a result.295 For example, neither K.S.A. 21-

6313 nor Policy 527 provides any information that allows a person of “ordinary intelligence” to


289
    Morales, 527 U.S. at 52.
290
    Roberts v. U.S. Jaycees, 468 U.S. 609, 619 (1984).
291
    Morales, 527 U.S. at 52 (quoting Broadrick, 413 U.S. at 615).
292
    See id. (citing Kolender, 461 U.S. at 358).
293
    Kolender, 461 U.S. at 358.
294
    See id.
295
    See, e.g., Hill, 530 U.S. at 732.

                                                        47
     Case 6:21-cv-01100-EFM            Document 207        Filed 09/29/23       Page 48 of 85




recognize the dress style, clothing color, tattoos, or hand gestures that are associated with criminal

street gangs. The WPD treats a virtual rainbow of colors as gang-related, considering at least blue,

red, green, black, brown, yellow, and orange, as well as the combinations of



                      to be associated with criminal street gangs. PSOF ¶ 66. Additionally, WPD

personnel believe clothing and tattoos related to an array of sports teams and locations are

associated with criminal street gangs. Under the WPD’s application of K.S.A. 21-6313, just

wearing clothing supporting a particular sports team—including the

                                                                                       (among many

more)—satisfies one of the criteria for inclusion in the Gang Database. PSOF ¶ 67. Indeed, WPD

personnel have maintained or renewed individuals’ designations as active gang members for an

additional three years based upon single instances of wearing clothing of a certain color or sports

team. PSOF ¶¶ 75, 154.

       The same lack of notice infects other statutory criteria for gang-membership designation.

A person of ordinary intelligence cannot avoid “frequenting a particular criminal street gang’s

area” without knowing how to recognize that an “area” is associated with a gang or what counts

as “frequenting” such an area. PSOF ¶¶ 48-54, 149. The statute does not provide the general public

with that essential guidance. Likewise, K.S.A. 21-6313 does not state what it means to “associate”

with “known criminal street gang members,” nor does it provide the public with any information

or explanation on how to identify a “known” gang member. PSOF ¶¶ 77-79. The term “associate”

is vague enough to encompass any number of protected social connections to family and friends,

from political assemblies to intimate relationships. PSOF ¶¶ 53-54, 76-84, 91. An ordinary person

may have routine, innocuous interactions with family, friends, neighbors, and co-workers, but



                                                 48
       Case 6:21-cv-01100-EFM                 Document 207            Filed 09/29/23          Page 49 of 85




unknowingly be in the presence of someone designated as a criminal street gang member. PSOF

¶¶ 79, 107; see PTO Stip. ¶ 34. Moreover, by defining a “criminal street gang member” based on

their connections to other (similarly defined) “criminal street gang members,” the statute creates a

self-perpetuating cloud of suspicion over certain communities that becomes nearly impossible to

dispel. See PSOF ¶¶ 16-20, 76-84, 93-95.

         Moreover, there is no requirement that a person know of, or intend to express, any gang

affiliation when they choose what to wear, where to go, and with whom to speak. The absence of

any knowledge or intent requirement poses further constitutional dangers.296 In addition, K.S.A.

21-6313 contains absolutely no requirement that a person engage in or be suspected of any criminal

activity, no scienter requirement, and no requirement that a person actually participate in or even

be suspected of participating in criminal street gang activity in order to be designated as a gang

member or associate and subjected to consequent harms. PSOF ¶¶ 9-10. Indeed, of the ten possible

criteria for criminal street gang membership under K.S.A. 21-6313(b)(2), only one contains any

reference to actual criminal activity, and none contains any element of scienter.297

         Consequently, a law-abiding Kansan who wears any of the “wrong” colors or color

combinations at the “wrong” place with the “wrong” people may be added to the Gang Database,

or have their designation renewed, despite the absence of any criminal intent or activity. Simply

attending a family funeral meets the statutory criteria when other attendees are designated as gang

members. PSOF ¶¶ 84, 116-117, 137, 139. Wearing a red                                                 baseball cap is

likewise treated as evidence of gang membership under the statute and WPD policy. PSOF ¶¶ 57,

154.


296
    See Colautti v. Franklin, 439 U.S. 379, 395 (1979) (“[T]he constitutionality of a vague statutory standard is closely
related to whether that standard incorporates a requirement of mens rea.”), abrogated on other grounds by Dobbs v.
Jackson Women’s Health Org., 142 S. Ct. 2228 (2022).
297
    See K.S.A. 21-6313(b)(2)(G).

                                                          49
         Case 6:21-cv-01100-EFM              Document 207       Filed 09/29/23    Page 50 of 85




           However, WPD personnel do not treat all conduct within the literal scope of the statutory

criteria the same. For example, according to one Gang Unit officer, a lawyer who wears blue ties

and “associates” with clients who are designated gang members would not meet either the “color”

or the “association” criterion. PSOF ¶¶ 36. In this officer’s view, the “association” criterion

excludes purely professional associations and the “color” criterion is not satisfied if a person just

“happen[s] to wear” a gang color. PSOF ¶¶ 36. The statutory text includes no such exceptions,

however, nor any guidance for creating or applying such exceptions. In this scheme, a person of

reasonable intelligence cannot determine whether the outfit they wear on any given day is more

like the acceptable blue tie or the purportedly “gang-affiliated” red            hat.

                            ii.    K.S.A. 21-6313 and Policy 527 encourage arbitrary enforcement.

           Such ambiguity underscores the second, independent reason that K.S.A. 21-6313 and

Policy 527 are impermissibly vague: without intelligible standards, the statute and policy

authorize, encourage, and even require arbitrary and discriminatory enforcement.298 Members of

the WPD Gang Unit use Policy 527, which incorporates the criteria listed in K.S.A. 21-6313, to

determine whether to label an individual a “gang member” or “gang associate.” If applied

according to the plain terms on the statute’s face, these criteria would encompass incalculable

swaths of Wichita’s population, including essentially all clergy and congregants, police and other

union members, musicians and concertgoers, retail workers, and other professional and social

service providers—including lawyers and judges. Even the WPD officers responsible for applying

the statute and policy cannot define what will and will not meet the criteria, and individual officers

necessarily apply the criteria differently from one another. PSOF ¶¶ 33-54.

           The evidence shows that WPD officers rely on their personal judgment and not the



298
      See, e.g., Hill, 530 U.S. at 732.

                                                       50
     Case 6:21-cv-01100-EFM           Document 207        Filed 09/29/23      Page 51 of 85




language of the statutory criteria when determining whether an individual meets the criteria for

gang membership. Former Capt. Nicholson described the criteria as “subjective sorts of things.”

PSOF ¶ 35. Deputy Chief Salcido likewise testified to K.S.A. 21-6313’s subjectivity and that WPD

officers have varying understandings of the criteria and their application. PSOF ¶ 35. Former WPD

Officer Sage Hemmert testified that application of K.S.A. 21-6313’s criteria depends on “context”

and admitted that WPD officers can interpret the criteria differently. Id. Det. McKenna resorted to

non-statutory justifications to explain why he would not designate a lawyer who represents gang

members and wears blue ties as a “criminal street gang associate.” PSOF ¶ 36. K.S.A. 21-6313’s

facial breadth and imprecision allow WPD officers to discriminate between the droves of

individuals who qualify as gang members under its plain terms.

       Numerous terms in K.S.A. 21-6313 are vague and require unpredictable WPD assessments,

leading to arbitrary additions to the Gang Database. For instance, under K.S.A. 21-6313(b)(2)(B),

a “documented reliable informant” or another law enforcement agency or correctional facility with

information on an individual can constitute evidence of gang membership, but there is “no . . . set

standard” that defines who may qualify as a documented reliable informant. PSOF ¶ 45. Some

WPD officers require a direct admission from an individual before they identify that person as a

gang member. PSOF ¶ 47. On the other hand, other WPD officers mark an individual as a “self-

admitted” gang member based upon information they gathered from second-hand conversations.

PSOF ¶ 47. Still other officers have considered a statement that one “has hung out with [gang]

members in the past,” a tattoo, or a video of an individual throwing hand signs as a self-admission.

PSOF ¶ 47. Deputy Chief Salcido acknowledged that gang intelligence officers are not required to

review body camera video footage to verify a purported self-admission, and he was unable to

identify an instance where they had done so. PSOF ¶ 46. Former Capt. Nicholson admitted that,



                                                51
      Case 6:21-cv-01100-EFM          Document 207         Filed 09/29/23      Page 52 of 85




due to the vagueness of K.S.A. 21-6313, application of the statute through Policy 527 could lead

to incorrectly identifying people in the community as gang members. PSOF ¶ 43.

       Neither K.S.A. 21-6313 nor Policy 527 provide guidance or instructions on distinguishing

innocent conduct that happens to fall within the literal scope of the criteria from conduct that is

purposely and meaningfully associated with gang membership. No provision limits the WPD’s

interpretation of the statute. Consequently, some Gang Unit officers focus only on the literal scope

of the K.S.A. 21-6313 criteria to designate citizens as gang members without concern for their

actual gang involvement, while others apply unwritten standards and exceptions of their own

making to identify who they believe are “actual” gang members. PSOF ¶ 35, 37.

       This lack of guidance in the law empowers WPD officers to indulge their whims when

applying the criteria, resulting in arbitrary distinctions and discriminatory outcomes. In one

incident, WPD officers mistook a historically Black fraternity gathering for a gang party. PSOF ¶

95. There were no allegations that the fraternity members were engaged in or connected with

criminal activity, nor did the WPD need such allegations to consider them a gang. PSOF ¶ 9-10,

95. The Gang Unit sought to designate them as gang members for associating in public wearing

their fraternity colors of crimson and cream, until alerted to their error by a Black officer. PSOF ¶

95.

       On the other hand, there are WPD personnel who meet two or more criteria for gang

membership or associateship, yet are not so designated in the Gang Database. PSOF ¶¶ 44. Certain

WPD and Sedgwick County personnel have expressed support for and affiliation with the “Three-

Percenters,” a criminal militia group whose members have been indicted and convicted for

organized federal criminal activity. Id. Yet neither these officers nor any other individuals are

designated as gang members or associates of “Three-Percenters” in the Gang Database. Id. None



                                                 52
         Case 6:21-cv-01100-EFM         Document 207       Filed 09/29/23      Page 53 of 85




of the WPD witnesses in this case are able to explain why those individuals have been excluded

from the Gang Database. Meanwhile, there are individuals designated as gang members (or

associates) in the WPD Gang Database who maintain that they are not—nor have ever been—a

member or associate of a criminal street gang. The failure to provide guidance or instruction has

thus encouraged the kind of “standardless sweep” by law enforcement that the constitution

prohibits,299 which has led to the undeniable overrepresentation of Black and Latinx/Hispanic

individuals in the Gang Database. PSOF ¶¶ 16-20. Such inequities are the inevitable result of a

statute and policy so facially broad and vague that no person of ordinary intelligence could

understand and avoid their sweep. Likewise, unable to apply such vague provisions by their plain

terms, WPD officers are left to make subjective, arbitrary, and discriminatory decisions in

attempting to a the statute. K.S.A. 21-6313 and Policy 527 are facially overbroad and vague, and

the Court should find them unconstitutional.

           B. Plaintiffs are entitled to summary judgment because K.S.A. 21-6313, et seq. and
              Policy 527 are void-for-vagueness as applied to Plaintiffs.

           K.S.A. 21-6313 and Policy 527 are impermissibly vague as applied to Plaintiffs because

the statute and policy failed to provide notice that certain acts could lead to Plaintiffs’ placement

in the Gang Database. Additionally, the vagueness of the statute and policy have allowed WPD

officers to arbitrarily add and renew Plaintiffs in the Gang Database for years and even decades.

PSOF ¶¶ 114, 130, 143, 164. And because the statute and policy fail to intelligibly describe what

conduct may lead to gang status renewal, Plaintiffs continue to fear that engaging in protected First

and Fourteenth Amendment activity will extend their active status in the Gang Database. See PSOF

¶¶ 104-109, 123-124, 140-141, 158-159.

           Chris Cooper is not and has never been a member of criminal street gang. PSOF ¶ 115. Mr.


299
      See Kolender at 358.

                                                  53
         Case 6:21-cv-01100-EFM         Document 207        Filed 09/29/23     Page 54 of 85




Cooper never received any notice of his inclusion in the Gang Database until he was arrested for

a non-gang related incident, and more importantly, the WPD never informed him of why it added

him. PSOF ¶ 114. To avoid “associat[ing] with known criminal street gang members”300 and thus

violating his release conditions and being renewed in the Gang Database, Mr. Cooper was forced

to live away from and cease contact with family members whom he thinks are in the Gang

Database. PSOF ¶ 121. Further, because K.S.A. 21-6313 fails to provide any context on what

constitutes a “particular street gang’s area,”301 Mr. Cooper is forced to avoid retail and sales jobs

where he may have to attend events at the local mall and certain neighborhoods and parks, and to

avoid gathering for funerals and other events because he fears being at the wrong place with the

wrong people. PSOF ¶¶ 123-124. The vagueness of K.S.A. 21-6313 infringes upon Mr. Cooper’s

ability to engage in constitutionally protected First and Fourteenth Amendment activity.

           Martel Costello is not and has never been a member of a criminal street gang. PSOF ¶ 129.

But when charged with marijuana and firearms offenses—both unrelated to any gang activity—

Mr. M. Costello was informed that he had previously been placed in the Gang Database. PSOF ¶

127-128. The WPD has renewed Mr. M. Costello’s active status for associative activities such as

attending a concert with his father and two other friends who were listed as gang members. PSOF

¶ 130. Likewise, Mr. M. Costello was later found to have violated his gang probation conditions

for attending his brother’s funeral, where the WPD believed some of the funeral attendees were

gang members. PSOF ¶ 139. The WPD did not identify the known criminal street gang members,

nor did the WPD explain how Mr. M. Costello would have known the identity of the alleged gang

members. Like any reasonable individual, Mr. M. Costello could not have anticipated that

spending time with his father or attending a sibling’s funeral would lead to his gang status renewal.


300
      See K.S.A. 21-6313(b)(2)(F).
301
      See K.S.A. 21-6313(b)(2)(D).

                                                  54
         Case 6:21-cv-01100-EFM                 Document 207          Filed 09/29/23     Page 55 of 85




           Elbert Costello is not a member of a criminal street gang. PSOF ¶ 144. Yet because the

WPD designated him a gang member, Mr. E. Costello was subjected to enhanced gang probation

conditions for a non-gang related offense, which he was unable to meet due to his daily interactions

with family and friends. PSOF ¶¶ 146, 156. For decades, the WPD has renewed Mr. E. Costello as

an active gang member based on clothing color and his social relationships with friends and family,

including purportedly wearing a red                                   baseball cap while attending a childhood

friend’s funeral. PSOF ¶¶ 150, 153-154, 156. Mr. E. Costello avoids certain businesses and

establishments in his local community out of concern that they might be “gang areas,” resulting in

an extension of his time in the Gang Database. PSOF ¶ 149; see also PSOF ¶ 152. Again, the WPD

provides no notice of which colors or clothes are “gang-related” nor what a “particular criminal

street gang’s area” might be. Mr. E. Costello lives in constant fear that engaging in benign First

and Fourteenth Amendment activity will lead to renewal of his active gang status. PSOF ¶¶ 149,

158-159.

           Jeremy Levy, Jr. is not and has never been a member of a criminal street gang. PSOF ¶

162. The WPD added Mr. Levy to the Gang Database because he allegedly was contacted by an

officer in the presence of gang members, was arrested together with gang members, and a

“confidential informant” identified him as a gang member. PSOF ¶ 163. As a result of his addition

to the Gang Database, prejudicial evidence concerning Mr. Levy’s purported gang membership

and unrelated gang activity was introduced at his criminal trial, and Mr. Levy’s First and

Fourteenth Amendment rights will be severely limited when he is paroled.302 See PSOF ¶¶ 165-

166, 168. As with the other Plaintiffs, Mr. Levy will be forced to restrict his life to avoid extensions

to his active status in the Gang Database.



302
      See infra Section IV (discussing gang conditions of release).

                                                            55
       Case 6:21-cv-01100-EFM         Document 207        Filed 09/29/23     Page 56 of 85




        Plaintiff Progeny is a non-profit organization based in Wichita that seeks to assist youth

involved in the criminal legal system and to work toward reducing and eventually eliminating the

myriad harms caused by the juvenile justice system. PTO Stip. ¶ 56; PSOF ¶ 104. Progeny works

with and employs individuals designated in the Gang Database. PSOF ¶¶ 97-99. The WPD added

these individuals to the Database for reasons such as wearing clothing with purported gang colors,

using purported gang hand signs, social media activity, and “association” with others included in

the Database. PSOF ¶ 98. Hosting town halls, meetings, and gatherings—in other words,

associating—with individuals involved in the criminal justice system, including those at risk for

gang designation, is critical to Progeny’s mission and purpose. PSOF ¶ 104. Yet because K.S.A.

21-6313 and Policy 527 fail to make clear what types of “associating” or other conduct may lead

to inclusion in the Gang Database (and individuals have no way of knowing who is included in the

Database) Progeny members are unable to freely associate for political, social, or any purposes

without putting themselves and those they seek to serve at risk of gang designation. PSOF ¶¶ 103-

108.

        As a result, Progeny has cancelled events and been discouraged from assembling and

protesting due to WPD contact and surveillance. PSOF ¶¶ 103-107. WPD officers regularly harass

Progeny members and surveil Progeny meetings, substantiating fears that association will lead to

censure and enhanced criminal consequences. PSOF ¶¶ 100, 109. And for individuals whose

inclusion in the Gang Database is known, K.S.A. 21-6313 and Policy 527 effectively forbid

Progeny from providing services or support to such persons, directly preventing it from helping

current or former gang members transition to a gang-free life. PSOF ¶ 108.

        Because Plaintiffs are unable to conform their conduct to avoid inclusion or renewal in the

Gang Database, and because application of the statutory criteria through Policy 527 is arbitrary



                                                56
       Case 6:21-cv-01100-EFM                 Document 207            Filed 09/29/23          Page 57 of 85




and deprives Plaintiffs of their constitutional freedoms, K.S.A. 21-6313 is void for vagueness.

III.     K.S.A. 21-6313, et seq. and Policy 527 fail to provide procedural due process under
         the Fourteenth Amendment.

         The undisputed facts establish that the WPD has failed to provide the individual Plaintiffs

and the putative class procedural due process as required by the Fourteenth Amendment.303

Procedural due process claims involve a two-step inquiry: an individual must first demonstrate

they possess a protected interest, and then show that they were denied the appropriate level of

process.304 Here, Plaintiffs satisfy both steps of the inquiry.

         A. Plaintiffs possess a protected liberty interest under the stigma-plus doctrine.

         Plaintiffs possess a protected liberty interest in their reputations. The Due Process Clause

is triggered when “a person’s good name, reputation, honor, or integrity is at stake because of what

the government is doing to him,” plus an alteration or extinguishment of rights or status recognized

by state law.305 This combination of government-imposed stigma, plus the alteration of a legal

right, is known as the “stigma-plus” doctrine. Under the stigma-plus doctrine, an individual

possesses a liberty interest implicating procedural due process rights when (1) “the government

made a false statement . . . that was sufficiently derogatory to injure [the plaintiff’s] reputation,”306

and (2) “the plaintiff experienced some governmentally imposed burden that significantly altered

her status as a matter of state law.”307 The WPD’s practices and policies violate Plaintiffs’ liberty

interests by depriving them of procedural due process under the stigma-plus doctrine.




303
    U.S. Const. Amend. XIV, § 1 (prohibiting a state from “depriv[ing] any person of life, liberty, or property, without
due process of law”).
304
    Merrifield v. Bd. of Cnty. Comm’rs, 654 F.3d 1073, 1078 (10th Cir. 2011) (quoting Riggins v. Goodman, 572 F.3d
1101, 1108 (10th Cir. 2009)).
305
    See Paul v. Davis, 424 U.S. 693, 708 (1976); Wisconsin v. Constantineau, 400 U.S. 433, 436–37 (1971).
306
    Brown v. Montoya, 662 F.3d 1152, 1168 (10th Cir. 2011).
307
    Gwinn v. Awmiller, 354 F.3d 1211, 1216 (10th Cir. 2004) (quotations omitted).

                                                          57
      Case 6:21-cv-01100-EFM                  Document 207             Filed 09/29/23          Page 58 of 85




                  1. The WPD has made false, derogatory statements that injured Plaintiffs’
                     reputations.

         The first prong of the stigma-plus doctrine is satisfied here because the WPD injured

Plaintiffs’ reputations by labeling them criminal street gang members or associates.

         First, the WPD made false statements about each Plaintiff by labeling each one as a

criminal street gang member or associate. PSOF ¶¶ 114-117, 128-130, 142-143, 163-165. These

statements are false because none of the individual Plaintiffs is currently involved in a criminal

street gang in Wichita or elsewhere. PSOF ¶¶ 115, 129, 144, 162. The same is true for others who

have been designated as gang members or associates in the Gang Database but maintain that they

are not, or have never been, a member or associate of a criminal street gang. See PSOF ¶ 43. For

these reasons, Plaintiffs’ designations as gang members or associates in the Gang Database

constitute false statements.

         Second, the WPD’s false statements are sufficiently derogatory and stigmatizing to give

rise to due process protections.308 This Court has already determined that a false designation as a

gang member is “sufficiently derogatory to injure [a person’s] reputation.”309 In declining to

dismiss Plaintiffs’ procedural due process claim, the Court properly reasoned that a gang member

designation “inescapably implies that a person is involved, at least in some capacity, with criminal

activity, which is generally recognized as defamatory per se under relevant state law.”310 Courts

across the country agree.311 By falsely labeling Plaintiffs as gang members or associates, the WPD


308
    See, e.g., Paul, 424 U.S. at 697 (“Imputing criminal behavior to an individual is generally considered defamatory
per se, and actionable without proof of special damages.”).
309
    Mem. & Order, Doc. 28, at 25.
310
    Id. Notably, the definitions of “criminal street gang,” “criminal street gang activity,” “criminal street gang member”
and “criminal street gang associate” under K.S.A. 21-6313 underscore this false implication: while criminality is
necessary and central to the definitions of a “criminal street gang” and “criminal street gang activity,” no criminal act
or intent is required for designation as a gang member or associate under the statute or Policy 527. PSOF ¶¶ 9-10.
311
    See, e.g., Pedrote-Salinas v. Johnson, No. 17 C 5093, 2018 WL 2320934, at *5 (N.D. Ill. May 22, 2018) (“There
is no question that being labeled a gang member harms one’s reputation.”); Medrano v. Salazar, No. 5:19-cv-00549-
JKP, 2020 WL 589537, at *6 (W.D. Tex. Feb. 5, 2020) (“[B]eing improperly included in a ‘gang database carries with

                                                           58
      Case 6:21-cv-01100-EFM                  Document 207            Filed 09/29/23          Page 59 of 85




injured each Plaintiff’s reputation.

                  2. The WPD’s sharing of Gang Database information triggers Due Process
                     protections.

         In addition to wrongly labeling individuals as criminal street gang members, the WPD has

repeatedly provided this false information from its Gang Database to individuals outside the

Department. In fact, the WPD has a documented history of improperly publicizing and sharing

information from its Gang Database—both to other government agencies and to the public—

identifying alleged gang members or associates. Improper intra-governmental sharing of

information satisfies the stigma-plus doctrine’s public disclosure requirement.312 Moreover,

multiple courts have specifically held that gang database information is sufficiently public to

satisfy the stigma-plus doctrine where, as here, it is shared with other law enforcement agencies.313

         The WPD regularly shares individuals’ gang designations with other municipal, county,

state, and federal law enforcement officers and agencies. PSOF ¶ 25. Moreover, the WPD

historically identified some designated gang members in the National Crime Information Center

database, thus identifying individuals as gang members to local, state, and federal agencies across

all U.S. states and territories, as well as with some foreign countries. Id. Thus, even among law

enforcement, the WPD’s dissemination of Gang Database information is massively widespread.

         Other dissemination of Gang Database information includes a WPD officer providing


it the stigma of being a gang member, which is tied to a host of unfortunate implications such as involvement in
criminal conduct. There is no question that being labeled a gang member harms one’s reputation.’” (quoting Pedrote-
Salinas, 2018 WL 2320934, at *5)); see also Alston v. City of Madison, 853 F.3d 901, 909 (7th Cir. 2017) (“repeat
violent offender” classification harms one’s reputation); Latif v. Holder, 28 F. Supp. 3d. 1134, 1150 (D. Or. 2014)
(No-Fly List placement carries stigma of being a suspected terrorist).
312
    See, e.g., Larry v. Lawler, 605 F.2d 954, 959 (7th Cir. 1978) (finding sufficiently public the Civil Service
Commission’s sharing of plaintiff’s stigmatizing label with federal agencies on a need to know basis); Castillo v. Cnty.
of Los Angeles, 959 F. Supp. 2d 1255, 1261 (C.D. Cal. 2013) (finding plaintiff’s inclusion in Child Welfare Services
Case Management System sufficiently public where information in the database was not publicly available but was
available to governmental entities and agencies).
313
    See, e.g., Medrano, 2020 WL 589537, at *6; Pedrote-Salinas, 2018 WL 2320934, at *5 (holding defendant
sufficiently publicized plaintiffs’ inclusion in a gang database when they shared the information with immigration
officials).

                                                          59
      Case 6:21-cv-01100-EFM                 Document 207            Filed 09/29/23          Page 60 of 85




information from the Gang Database to a Section 8 housing authority employee, “start[ing] an

eviction process based on . . . information about gang activity.” PSOF ¶ 30. In addition, the Wichita

Eagle published an article identifying Elbert Costello as a “documented gang member[]” based on

information that more than likely originated from the Gang Database. PSOF ¶ 29.

         WPD employees have also publicly leaked information from the Gang Database on

multiple occasions. A WPD officer once left a printed copy of the Gang List on the trunk of his

squad car for all to see, and it ultimately ended up in the hands of the media. PSOF ¶ 28. On another

occasion, a gang bulletin containing names of gang members and their respective gangs that WPD

personnel had pulled from the Gang Database and circulated to outside law enforcement personnel

was printed and publicly displayed at a barbershop in Wichita. Id. In yet another incident

comprising multiple leaks, former Capt. Nicholson was charged with and subsequently received

diversion for crimes based on, among other things, over 22 instances of publicly disclosing

information from the Gang Database over a 12-month period. PSOF ¶ 30.

         For these reasons, the Court should find that the WPD’s gang designations are sufficiently

public statements to trigger due process protections.

                  3. As a consequence of the WPD’s false public statements, Plaintiffs
                     experienced a governmentally imposed alteration of their legal status.

         Plaintiffs satisfy the “plus” prong of the stigma-plus doctrine because their designation in

the Gang Database restricts their freedom of movement, association, expression, and economic

activity.314 Courts routinely find such consequences sufficiently alter an individual’s legal status

to meet the “plus” prong.315 Plaintiffs face a litany of burdens so long as the WPD labels them as



314
   See Mem. & Order, Doc. 28, at 26–27 (finding such “tangible consequences” sufficient to satisfy stigma-plus).
315
   See, e.g., Gwinn, 354 F.3d at 1223–24 (sex offender registration altered legal status by imposing extra parole and
probation restrictions); Brown, 662 F.3d at 1168 (same); Castillo, 959 F. Supp. 2d at 1261–62 (inclusion in the Child
Welfare Services database had “serious implications” for plaintiff’s licensure ability); Hall v. Marshall, 479 F. Supp.

                                                         60
      Case 6:21-cv-01100-EFM                Document 207           Filed 09/29/23         Page 61 of 85




gang members.

                         i.   Plaintiffs endured enhanced bond, pretrial, probation, and parole
                              conditions because of their gang designations.

        By their inclusion on the Gang List, Plaintiffs have each received (or will receive) enhanced

bond, pretrial, probation, and parole gang conditions of release. The WPD does not hide the fact

that the goal of these conditions—and, indeed, Policy 527 itself—is to return those listed in the

Gang Database to jail or prison, even for conduct wholly unrelated to gang activity. PSOF ¶¶ 90,

138. The gang conditions include numerous restrictions on daily life, such as who one may

associate with, one’s clothing, the hours one may leave their home, the number of people allowed

in a car, the use of hand signs, the areas of town one may travel to, and the use of social media and

electronic communications. PSOF ¶ 87. To ensure compliance with these special conditions, the

WPD’s specialty TOPS unit specifically monitors those with gang conditions. PSOF ¶ 90.

        In addition, individuals designated as gang members or associates are subject to a statutory

enhanced minimum $50,000 cash or surety bail if arrested for a person felony.316 This enhanced

bond applies regardless of whether the offense is gang-related and is difficult for defendants to

afford. PSOF ¶ 85. Mr. Cooper languished in jail for a year because he was unable to afford this

enhanced bail, PSOF ¶ 118, while Mr. M. Costello’s mother had to place her home as collateral to

bond him out. PSOF ¶ 131.

                        ii.   Plaintiffs’ inclusion in the Gang Database has restricted and
                              continues to restrict their right of free movement.

        As designated gang members, Plaintiffs are frequent subjects of police surveillance and

harassment, restricting their free movement. PSOF ¶¶ 99-100, 122, 133-136, 140-141, 147-149,



2d 304, 314 (E.D.N.Y. 2007) (factually false and reputation-harming presentence report resulting in parole denial);
Latif, 28 F. Supp. 3d at 1150 (No-Fly List legally barred plaintiffs from travel).
316
    K.S.A. 21-6316.

                                                        61
     Case 6:21-cv-01100-EFM            Document 207        Filed 09/29/23       Page 62 of 85




158. WPD officers have routinely stopped and questioned the Costellos and Mr. Cooper. PSOF ¶¶

122, 133-136, 140-141, 147-149. Gang parole conditions have expressly limited their movements.

PSOF ¶¶ 121, 123, 136-137, 155. Plaintiffs also avoid community businesses, such as gas stations,

that they believe—though they cannot know for sure—the WPD has identified as “gang hangouts.”

PSOF ¶ 149. Mr. E. Costello was also denied access to a business because of his gang designation:

a skating rink cancelled his Christmas party for a family in need after the WPD informed the rink

that gang members would be in attendance. PSOF ¶ 157. Mr. Cooper has avoided certain areas

where gang members might be present and consequently missed employment and sales

opportunities. PSOF ¶¶ 123-124. This harassment and restriction of Plaintiffs’ freedom to travel is

directly tied to the WPD’s gang designations. PSOF ¶¶ 122.

       The WPD’s publication of Gang Database information also harms Plaintiffs and their loved

ones by putting them at risk of harassment, violence, or discrimination at the hands of third parties.

After a gang bulletin including the names, photos, and purported addresses of WPD gang designees

was publicly disclosed and disseminated in October 2011,



PSOF ¶ 22.



                                              Id.

                                                                                                 . Id.

As recently as 2022, the WPD continued to publish bulletins identifying gang designees and even

non-designated gang suspects that were leaked. Id.; see also PSOF ¶ 30.

                    iii.   Gang designation altered Plaintiffs’ legal decisions in criminal
                           proceedings.

       Because the WPD wrongfully labeled them as gang members, Messrs. Cooper, Levy, and

                                                    62
     Case 6:21-cv-01100-EFM           Document 207        Filed 09/29/23     Page 63 of 85




M. Costello were forced to make decisions in their criminal cases that they would not have

otherwise made. Mr. Cooper could not afford the enhanced $50,000 bail and therefore remained

incarcerated pretrial for a year before accepting a plea deal for probation with gang conditions.

PSOF ¶¶ 118-119. Similarly, Mr. M. Costello’s bond amounts were set so high that his mother had

to offer her home as collateral. PSOF ¶ 131.

       In 2017, Mr. Levy was charged with murder in connection with a shooting following a

dispute over a romantic relationship. Mr. Levy was not and had never been in a gang. PSOF ¶ 162.

At trial, the prosecutor introduced evidence of Mr. Levy’s alleged gang status as well as evidence

of multiple alleged “gang incidents” of an alleged “gang feud” for over six months prior to the

incident leading to the charged offense. PSOF ¶¶ 165-166. The introduction of this highly

prejudicial evidence—resulting directly from his designation as a gang member—affected Mr.

Levy’s legal prospects at trial. See id. Evidence of purported gang membership may be introduced

against a designated individual even when not directly relevant to the charged offense. PSOF ¶¶

86, 102, 165.

       Gang Database designation also alters Plaintiffs’ legal status after trial and sentencing.

PSOF ¶¶ 32, 87. Gang Database designees are ineligible for certain diversion programs. PSOF ¶

92. Plaintiffs were subject to post-sentencing gang conditions because of their designation. For

example, Mr. Cooper had a 6 p.m. curfew for over a year and was forced to live away from his

family because some of them were on the Gang List. PSOF ¶ 121. Similarly, Mr. M. Costello was

forbidden from wearing certain clothing colors and from visiting certain places while on probation.

See PSOF ¶ 132, 136-137, 139.

                    iv.   Gang designation limits Plaintiffs’ employment opportunities.

       Gang conditions have also restricted Plaintiffs’ employment opportunities. For example,



                                                63
       Case 6:21-cv-01100-EFM          Document 207       Filed 09/29/23      Page 64 of 85




to avoid inadvertently associating with purported gang members, Mr. Cooper avoids retail and

sales jobs requiring public interaction. He has missed out on profitable sales events at the mall,

certain neighborhoods and parks, and the annual Riverfest due to gang members’ potential

presence there. PSOF ¶¶ 123-125. His employment is limited to warehouses to avoid the possibility

of encountering other Gang Database designees and being renewed as a result. See id. Following

his prosecution and pretrial detainment, Mr. Cooper lost his scholarship to K-State and has never

been able to attend college, thus curtailing his employment and economic prospects. PSOF ¶¶ 111,

120.

        Mr. E. Costello’s Gang Database entry contains several notes about his presence at various

night clubs with other purported gang members, despite the WPD’s knowledge that he works as a

concert promoter who works out of clubs. PSOF ¶ 152. His presence at a club while working thus

creates a risk of active status renewal.

                     v.    Gang designation restricts Plaintiffs’ interactions with friends and
                           family.

        Inclusion in the Gang Database also restricts with whom Plaintiffs may associate and

affects family gatherings such as funerals. In fact, the WPD cited Mr. Cooper’s photographs with

family members—including his uncle, Mr. E. Costello, and his cousin, Mr. M. Costello—and

attendance of his cousin’s funeral as reasons to extend his three-year active period on the Gang

List. PSOF ¶ 116. The Costellos’ active statuses were renewed for another three years on similar

grounds. PSOF ¶¶ 139, 153-154. For these reasons, Mr. E. Costello fears additional harassment

and punishment if he attends social and family gatherings—such as barbecues, family dinners, or

funerals. PSOF ¶ 158. Therefore, he has avoided interacting with lifelong friends named on the

Gang List because he knows it will only prolong his own status as an active gang member and can

result in others potentially being classified as gang members or associates. Id. And as described

                                                64
         Case 6:21-cv-01100-EFM               Document 207       Filed 09/29/23    Page 65 of 85




above, Mr. Cooper avoided living with his own family while on probation. PSOF ¶ 121.

                          vi.      Gang designation limits housing options.

           Inclusion in the Gang Database limits an individual’s housing options, whether through

gang conditions of release, restricting individuals’ ability to freely associate with family, or

disqualifying individuals from Section 8 housing.317 PSOF ¶¶ 22, 31, 79-81, 87, 91, 121. At least

once, a WPD officer shared information with a Section 8 housing authority employee about

purported gang members—putative class members—living and hanging out at a residence on East

Kensington, leading to the initiation of eviction proceedings against those individuals. PSOF ¶ 31.

                                    was a concern specifically raised following a WPD gang bulletin

disclosure in 2011. PSOF ¶ 22.

           Any one of these harms on its own is sufficient to satisfy the plus prong of the stigma-plus

analysis, entitling Plaintiffs to appropriate process to safeguard their liberty interests.

           B. Plaintiffs were denied an appropriate level of process.

           Due process requires notice and an opportunity to be heard at a meaningful time and in a

meaningful manner.318 The WPD denied Plaintiffs and class members even the most basic level of

process, from notice of their inclusion in the Gang Database to an opportunity to challenge their

designation.

                                1. The WPD does not provide notice of inclusion in the Gang Database.

           The WPD fails to provide individuals notice of their inclusion in the Gang Database. The

Supreme Court has held that “[w]here a person’s good name, reputation, honor, or integrity is at

stake because of what the government is doing to him, notice and an opportunity to be heard are




317
      See supra Section II.A.2.i; infra Section IV.B.
318
      Mathews v. Eldridge, 424 U.S. 319, 333 (1976).

                                                        65
      Case 6:21-cv-01100-EFM                Document 207            Filed 09/29/23         Page 66 of 85




essential.”319 The Tenth Circuit has further explained that due process requires “notice of the

charges, an opportunity to present witnesses and evidence in defense of those charges, and a

written statement by the factfinder of the evidence relied on and the reasons for the disciplinary

action.”320 Yet the WPD fails to notify any adult of their inclusion or change in status in the Gang

Database. PSOF ¶¶ 55. And while WPD policy requires that officers attempt to notify the parents

or guardians of juveniles when the WPD adds the juvenile to the Gang Database, its attempts are

demonstrably unsuccessful. PSOF ¶ 56. The WPD has successfully notified no more than 50% of

juveniles (or the parents or guardians thereof) of the juvenile’s designation as a gang member or

associate. Id.

        A person may never find out that the WPD designated them in the Gang Database. PTO

Stip. ¶ 34; see also PSOF ¶ 91. Many individuals only find out they are in the Gang Database

when they are arrested, charged with a crime, and subjected to the enhanced bond or other gang

conditions as a result of designation. PSOF ¶ 91; PTO Stip. ¶ 35. Thus, the WPD fails to provide

proper notice to those added or renewed in the Database in violation of their due process rights.

                          2. Plaintiffs have no opportunity to challenge their gang designations at
                             any time or in any manner.

        Even upon discovering their designation in the Gang Database, Plaintiffs have no recourse

to challenge or appeal their designation in further violation of their due process rights. PSOF ¶¶

58-59. Once added, a person remains in the Gang Database in perpetuity. PSOF ¶¶ 59, 61.

        Due process requires that one be able to challenge their designation as a gang member or

associate.321 Without such procedures, there is a significant risk of error.322 Despite top WPD



319
    Constantineau, 400 U.S. at 437 (emphasis added).
320
    Gwinn, 354 F.3d at 1219.
321
    Gwinn, 354 F.3d at 1219.
322
    See Youth Justice Coal. v. City of Los Angeles, 264 F. Supp. 3d 1057, 1069 (C.D. Cal. 2017).

                                                        66
      Case 6:21-cv-01100-EFM                 Document 207            Filed 09/29/23          Page 67 of 85




leadership’s awareness of the significant due process violations and proposals for reform, the WPD

has refused to create a process whereby individuals named in the Gang Database can protest or

appeal their inclusion.323 PSOF ¶ 60. The WPD has deliberately chosen not to address these due

process concerns through policy.324 Id.

         C. Plaintiffs face a significant risk of erroneous deprivation.

         Plaintiffs are entitled to pre-deprivation process because the WPD’s application of criteria

for gang designations is ripe for error.325 The WPD’s policies and practices allow for gang

designations that are subjective and likely to capture people who are not involved in gang or

criminal activity, such as the Plaintiffs. PSOF ¶¶ 8-10, 35-37, 41, 43, 57. In fact, other courts have

already ruled that the very factors the WPD uses to identify gang membership—close association,

joint criminal activity, and self-admissions—are unreliable.326 Because the risk of erroneous

deprivation is considerable and no formal removal procedures exist, Plaintiffs are entitled to pre-

deprivation process.

         Due to these very concerns, other law enforcement agencies with similar gang databases,

such as the Los Angeles Police Department, have implemented notification and removal processes.

PSOF ¶ 57. Even so, WPD personnel have opposed and thwarted efforts to implement notification

and removal processes. PSOF ¶¶ 59-60.

         Because the WPD denies Plaintiffs and putative class members notice and any opportunity



323
    At best, an individual can be moved to “inactive” status. PSOF ¶ 61; PTO Stip. ¶¶ 38-40. But this change does
nothing to address individuals wrongfully added to the Gang Database in the first instance. And those classified as
“inactive” continue to experience the same harms: the WPD continues to share an individual’s “inactive” status
externally, and inactive designees are still subject to targeted monitoring, including on social media. PSOF ¶¶ 22-32,
39, 50, 76, 82-84; PTO Stip. ¶ 40. Finally, inactive designees face a lower threshold for their status to be changed to
active than those individuals not already listed in the Gang Database. Compare PTO Stip. ¶¶ 11-13 with PTO Stip. ¶
40.
324
    See 42 U.S.C. § 1988.
325
    See supra Section II.
326
    See, e.g., Vasquez v. Rackauckas, 734 F.3d 1025, 1046 (9th Cir. 2013); Youth Justice Coal., 264 F. Supp. 3d at
1069.

                                                         67
      Case 6:21-cv-01100-EFM               Document 207           Filed 09/29/23   Page 68 of 85




to challenge their designation in the Gang Database, the Court should grant Plaintiffs summary

judgment on their procedural due process claim.

IV.     K.S.A. 21-6313, et seq., and Policy 527 directly prohibit certain constitutionally
        protected expressive and associative behaviors in violation of the First Amendment.

        K.S.A. 21-6313, et seq. and Policy 527 directly prohibit a number of both expressive and

associative behaviors, a constitutional infringement that cannot pass strict scrutiny.

        A. The WPD’s application of K.S.A. 21-6313 and Policy 527 targets a broad swath
           of speech based on its content.

        A regulation affecting speech is subject to strict scrutiny if the regulation is content-

based.327 Content-based laws are “those that target speech based on its communicative content”

and are “presumptively unconstitutional.”328 Such limitations “may be justified only if the

government proves that they are narrowly tailored to serve compelling state interests.”329 “The

commonsense meaning of the phrase ‘content based’ requires a court to consider whether a

regulation of speech ‘on its face’ draws distinctions based on the message a speaker conveys.”330

But a neutrally written ordinance may still be content-based on two other grounds: (1) if the

government “cannot justify it without referencing the content of the speech involved” or (2) if the

government adopted the regulation because it “disagreed with a message being conveyed.”331

        Here, the WPD’s enforcement of K.S.A. 21-6313, et seq. via Policy 527 targets and

regulates a wide variety of forms of speech based on their content. These forms of speech include

tattoos, clothing, and social media activity.




327
    Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 641–42 (1994).
328
    Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 163 (2015).
329
    Id.
330
    Id. (citing Sorrell v. IMS Health, Inc., 564 U.S. 552, 564 (2011)).
331
    Harmon v. City of Norman, Okla., 981 F.3d 1141, 1148 (10th Cir. 2020).

                                                       68
         Case 6:21-cv-01100-EFM           Document 207       Filed 09/29/23      Page 69 of 85




           Tattoos. The WPD considers and trains its officers to view certain tattoos as gang-related,

including tattoos expressing statements of support for individuals (“       ”), ethnic identities (“

         ”), neighborhoods or locations (street and intersection references), and political opinions

(“                ”). PSOF ¶¶ 67, 69. By singling out certain tattoos, the WPD targets and suppresses

particular political speech, including anti-police speech—evincing disagreement with the message

conveyed. Expressing support or grief over the loss of a loved one can implicate both religious and

associative rights.332 The WPD also reactivates inactive individuals as “active” based on a failure

to remove or cover alleged gang tattoos, forcing individuals to choose between silencing

themselves or risking continued Gang List inclusion and its consequences. PSOF ¶ 15.

           Clothing. Similarly, the WPD also considers and trains its officers to view certain types of

clothing as gang-related. PSOF ¶¶ 65-68. WPD officers may consider clothing representing certain

sports teams or locations as evidence of gang affiliation, even commonplace and geographically

proximate sports teams such as the                                     . PSOF ¶ 67. Indeed, according

to the WPD, wearing a                 shirt may be an indication of affiliation with both Crips and

Bloods—two supposedly rival gangs. See PSOF ¶ 67.

           Even more broadly, WPD officers view clothing of numerous colors as evidence of gang

affiliation. For example, officers associate blue with Crips and red with Bloods. See PSOF ¶ 66.

But colors carry a wide variety of political, religious, and cultural meanings. For instance, red is

associated with the Republican Party, blue with the Democratic Party, green with

environmentalism and Islam, etc. In fact, WPD officers have testified that they consider virtually

all colors as possible evidence of gang affiliation. PSOF ¶ 66.




332
      See infra Section IV.B.2.

                                                    69
      Case 6:21-cv-01100-EFM              Document 207          Filed 09/29/23        Page 70 of 85




        Social media. Furthermore, the WPD regularly trawls through individuals’ social media

accounts for statements of support for individuals, ethnic or neighborhood pride, political opinions,

emojis, or other statements they perceive as gang-related. PSOF ¶¶ 39, 40, 68, 70, 82; see also

PTO Stip. ¶ 40. WPD officers can and do add people to the Gang Database or renew their active

status based solely on social media activity. PTO Stip. ¶ 41. For example, the WPD added Mr.

Cooper to the Gang Database as an associate based in part on his Facebook posts showing Mr.

Cooper wearing red and black             brand clothing, as well as photos stating “Free Kejuan” and

“RIP Pigg.” See PSOF ¶ 114. The WPD also renewed Mr. Cooper’s active status because his social

media page purportedly showed him using the name “Track Nation 17.” Id. Additionally, the WPD

added Mr. M. Costello to the Gang Database as an associate and renewed his status based in part

on his Facebook posts where he purportedly used “gang terms” and colors. PSOF ¶ 128.

        The WPD directly restricts all of the above expressive speech by designating individuals

who engage in it as gang members or associates in the Gang Database and subjecting them to the

many harms discussed above.333 PSOF ¶¶ 22, 31-32, 65-72, 75-92, 100, 102-109, 114, 118-125,

128-140, 146-158; supra Section III.A. These direct prohibitions are not limited to merely

expressive conduct or symbolic speech, such as an article of clothing, but rather extend to actual

written speech in the form of tattoos containing words, and statements made on social media.334

        Gang conditions of release. Inclusion or renewal in the Gang Database and on the Gang

List also results in downstream direct prohibition of broad swaths of speech. Onerous pretrial,

probation, or parole gang conditions of release are imposed on criminal defendants as a direct

result of their designation as gang members and associates. PSOF ¶¶ 87, 89. Those conditions



333
   See supra Sections II.B, III.3.
334
   But cf. Mem. & Order, Doc. 28, at 34–36 (First Amendment claim regarding clothing color concerns expressive
conduct or symbolic speech that falls under procedural due process claim).

                                                     70
      Case 6:21-cv-01100-EFM                  Document 207            Filed 09/29/23          Page 71 of 85




forbid individuals from wearing specific colors or types of clothing. PSOF ¶ 87. They also prohibit

individuals from obtaining any new tattoos, regardless of what those tattoos are or whether they

could possibly be related to any gang. Id. Yet another gang condition forbids the sending, sharing

or posting of any text, video, or picture through a cell phone or the Internet that includes any

statement or image that can be in any way associated with a gang. Id. The City contends that these

gang conditions of release are imposed not by the WPD but rather by other agencies, but the truth

is the WPD actively collaborates with other agencies to determine those conditions and to whom

they apply—even drafting policies for other agencies, which the WPD then aggressively enforces.

PSOF ¶¶ 88, 90.

         Ultimately, WPD officers have unfettered discretion over determining which individuals,

groups, or causes a person can or cannot support, grieve, or celebrate without being designated a

gang member. PSOF ¶¶ 8, 12, 15, 34, 36, 39-40, 47, 65-75. No WPD policy lays out standards or

guidelines for distinguishing criminal speech from political, religious, artistic, or other kinds of

speech. PSOF ¶¶ 35, 39, 71, 73. K.S.A. 21-6313 and Policy 527 thus empower WPD officers to

suppress political and cultural expression that they dislike or disagree with, including anti-police

expression. Because Policy 527 and K.S.A 21-6313 are content-based—facially and as applied—

they are presumptively unconstitutional.335

         B. As applied, K.S.A. 21-6313, et seq. and Policy 527 infringe on Plaintiffs’ right to
            association.

         The Supreme Court has held that First Amendment protection extends to an implied right

of freedom of association under certain circumstances.336 The First Amendment protects the “right



335
    Reed, 576 U.S. at 163.
336
    City of Dallas v. Stanglin, 490 U.S. 19, 23 (1989); Roberts, 468 U.S. at 622 (“[W]e have long understood as implicit
in the right to engage in activities protected by the First Amendment a corresponding right to associate with others in
pursuit of a wide variety of political, social, economic, educational, religious, and cultural ends.”); Mem. & Order,
Doc. 28, at 36.

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         Case 6:21-cv-01100-EFM            Document 207      Filed 09/29/23    Page 72 of 85




to associate for the purpose of engaging in those activities protected by the First Amendment—

speech, assembly, petition for the redress of grievances, and the exercise of religion.”337

           The undisputed facts demonstrate that the WPD’s implementation and application of

K.S.A. 21-6313, et seq. and Policy 527 punish Plaintiffs and others for engaging in protected

associative behaviors, lest the WPD designate them or renew their status in the Gang Database.

                             1. The WPD’s policies and practices prevent Progeny from fully
                                exercising its expressive associational rights.

           To fulfill its mission of reimagining the juvenile justice system and reinvesting in

community-based alternatives, Progeny hosts town halls, facilitates conversations with impacted

youth, provides support and services to youth who are involved in the criminal legal system or

transitioning back into the community, engages with elected officials regarding their policies and

reform efforts that may impact system-involved youth, and organizes youth and community

leaders around reform. PTO Stip. ¶ 56; PSOF ¶ 104. Progeny also creates and publishes reports

and other documents that translate youths’ insights and needs into calls for government action.

PSOF ¶ 104; PTO Stip. ¶ 57. These activities are core First Amendment activities.

           Progeny is run by a small executive staff and a team of Youth Leaders, at least four of

whom are included in the Gang Database themselves, or who have family members and friends

who are included. PSOF ¶¶ 97-98. Those who have been designated in the Gang Database have

been subjected to increased surveillance, reputational harm, and other negative consequences of

being included in the Gang Database. PSOF ¶¶ 99-100, 102-107. None of the four designated

individuals associated with Progeny are active gang members. PSOF ¶ 98.

           Because Progeny staff and members are in the Gang Database, the very existence and use

of the Gang Database and Gang List make it more difficult for Progeny to fulfill its mission of


337
      Roberts, 468 U.S. at 618.

                                                    72
         Case 6:21-cv-01100-EFM         Document 207       Filed 09/29/23      Page 73 of 85




helping Wichita youth involved in the criminal justice system.338 Moreover, the WPD’s gang

designation and harassment of Progeny staff and members directly restricts their associative and

expressive conduct. Progeny has cancelled protests and events due to WPD presence in the area

because of the concern that those in attendance could be added to the Gang Database, among other

things. In February 2019, Progeny’s attempt to hold an event for community action against

violence was thwarted when police presence at the event led many would-be attendees to avoid

the area for, among other things, fear of being designated as gang members. PSOF ¶ 106. In April

2021, following contact with the WPD, Progeny cancelled a planned protest at an event where

Governor Laura Kelly would be present. PSOF ¶ 105. Later that day, a WPD officer stationed

himself outside the building where Progeny was holding a meeting, and Progeny staff was forced

to interrupt the meeting to ask the officer to leave. Id. On another occasion, the WPD requested

that Progeny Youth Leaders meet with new officers, but the event did not take place because Youth

Leaders did not feel comfortable with the possibility of being profiled by police. PSOF ¶ 101.

WPD officers continue to target and scrutinize Progeny’s lawful associational activities, causing

interruption in Progeny’s activities, diverting staff time and attention, intimidating attendees, and

causing stress and discomfort to staff and attendees. PSOF ¶¶ 105, 109.

           When Progeny wishes to engage in protest or assembly, it must warn its participants that

if they are arrested while protesting, it could affect their probation or Gang Database status. See

PSOF ¶¶ 103-104, 107. Progeny and the individual must determine whether participation is worth

the risk, thereby limiting both the individual and Progeny’s ability to protest. See PSOF ¶¶ 103-

104, 107.




338
      See supra Section II.B.

                                                  73
     Case 6:21-cv-01100-EFM            Document 207         Filed 09/29/23      Page 74 of 85




       Progeny and its members are restricted from achieving their goals and fulfilling their

mission through organizing, conducting, and attending peaceable assemblies because doing so

creates grounds for the WPD to add Progeny members and event attendees to the Gang List and to

harass, detain, search, and surveil them pursuant to K.S.A. 21-6313 and Policy 527. PSOF ¶¶ 104,

107. The WPD’s policies and practices thus infringe on Progeny’s right of association to convene

and engage in First Amendment activities.

                       2. The WPD’s policies and practices infringe on the individual Plaintiffs’
                          right to expressive association.

       The WPD’s implementation and application of K.S.A. 21-6313 and Policy 527 also

infringe on the individual Plaintiffs’ and others’ protected freedom of expressive association.

       As an initial matter, the WPD relies heavily on individuals’ social relationships with

purported gang members or associates in order to add or renew those individuals to the Gang

Database. PSOF ¶¶ 76-84. For instance, the majority of entries in Mr. E. Costello’s Gang Database

file consists of his social interactions with others, leading to repeated renewal of his active status.

PSOF ¶¶ 150, 153. Gang Database files for the other individual Plaintiffs and Progeny staff reveal

a similar focus on their relationships with others. PSOF ¶¶ 98-99, 114, 116, 128, 130, 137, 139,

144, 150, 153, 156. The WPD’s targeting of these social relationships is particularly odious

because it operates with total disregard for familial relationships. For example, the Costellos—

father and son—were renewed in the Gang Database for attending a concert together. PSOF ¶¶

130, 150.

       Funerals. One particularly egregious and unconstitutional WPD practice is the targeting

of individuals’ associative conduct of attending funerals. Funerals are an archetypical public

gathering at which attendees can assemble together to express their love, respect, and grief for the

deceased and to support one another in their sorrow. Funerals often take place at religious locations

                                                  74
      Case 6:21-cv-01100-EFM              Document 207            Filed 09/29/23       Page 75 of 85




and include religious services. This sort of assembly and exercise of religion are core activities

protected under the First Amendment.339

        The WPD regularly surveils funerals and uses officers’ observations to add or renew

individuals in the Gang Database. PSOF ¶ 84. WPD officers frequently rely on the presence of

other purported gang members at a funeral as evidence of an individual’s gang affiliation. Id.

However, mere attendance at a purported gang member’s funeral is sufficient for renewal, with no

other alleged members’ presence necessary. Id. Mr. E. Costello’s Gang Database entry notes his

attendance at no less than five funerals, which the WPD cited for renewing his active status on

multiple occasions. PSOF ¶ 153. Messrs. M. Costello and Cooper were both renewed for attending

the funeral of Elbert Costello, Jr. (E. Costello’s son, M. Costello’s brother, and Mr. Cooper’s

cousin) at a church. PSOF ¶¶ 116, 139. The Costellos and Mr. Cooper were also renewed for

attending the wake of an infant niece when a drive-by shooting occurred, injuring Mr. Cooper.

PSOF ¶¶ 117, 137, 153.

        The WPD targets funerals even when it lacks knowledge or suspicion of any criminal

activity. Several officers were involved in surveilling Elbert Jr.’s funeral “

                            ,” despite the WPD “

                                                           ,” and despite Elbert Sr.’s pleas to attendees not

to wear “                              .” See PSOF ¶ 84, 116, 139. The WPD was aware that Mr. M.

Costello had been released from jail on bond in order to attend the funeral. PSOF ¶ 139.

Nevertheless, the WPD assisted in revoking his probation, resulting in incarceration in the

Ellsworth facility, and renewed him and Mr. Cooper in the Gang Database for attending the

funeral. PSOF ¶ 139.


339
   Roberts, 468 U.S. at 618; Stanglin, 490 U.S. at 25 (“[T]he right of expressive association extends to groups
organized to engage in speech that does not pertain directly to politics.”).

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     Case 6:21-cv-01100-EFM            Document 207        Filed 09/29/23       Page 76 of 85




       Gang conditions of release. The WPD’s direct prohibitions on associations also come in

the downstream form of gang conditions of release. The WPD is intimately involved in crafting

gang conditions in close partnership with other agencies. PSOF ¶ 88. These gang conditions

expressly forbid numerous associative behaviors, including: not going to certain specified

locations; not attending public court hearings unless ordered to do so; not wearing certain clothing;

not associating with anyone affiliated with any gang; not associating with anyone with a drug

conviction; not being in the presence of someone currently on pretrial supervision, probation,

parole, or with an active criminal case; not being present near a school or school parking lot without

prior permission; not riding in a car with more than one person, unless those persons are immediate

family members; not associating with any non-immediate family members designated as gang

members; not visiting or having telephonic or electronic communications with any jailed or

imprisoned person; and more. PSOF ¶ 87.

       These conditions of release are problematic for numerous reasons. Many of them have

nothing to do with gang-related activity on their face, and some are imposed with seemingly little

to no connection with the facts of an individual’s criminal case. Id. Criminal defendants have found

it difficult to comply with these gang conditions specifically because of the associational

restrictions. PSOF ¶ 91. Compliance with gang conditions is rendered even more difficult by the

fact that a defendant’s contacts may not know—and may never find out—that the WPD has

designated them as a gang member or associate, and thus those around them who are subject to

these gang conditions can unknowingly violate their conditions. Id.

       Many of these associational restrictions can be particularly severe when a gang condition

intersects with a familial relationship—for instance, living with a parent on the Gang List, having

a spouse currently in jail or prison, or co-parenting a child with a person with a drug conviction.



                                                 76
      Case 6:21-cv-01100-EFM                 Document 207            Filed 09/29/23          Page 77 of 85




Moreover, prohibiting an individual from attending court hearings not only prevents them from

expressing support for friends or family who are parties to the proceedings, but also from

exercising their First Amendment right to access open courts as a member of the public.340

         In this manner, the WPD punishes those designated as gang members or associates based

on their expressive associational conduct in violation of the First Amendment.

         C. The WPD’s practices and policies directly prohibiting expressive and
            associational conduct cannot withstand strict scrutiny.

         For the reasons described above, the WPD’s enforcement and application of K.S.A. 21-

6313, et seq. and Policy 527 are content-discriminatory and impinge on constitutionally protected

First Amendment associational rights, and thus strict scrutiny applies.341 The burden therefore lies

with the City to identify a compelling state interest and to prove that the WPD’s application of

K.S.A. 21-6313 and Policy 527 are narrowly tailored to serve that interest.342 The City cannot meet

this burden.

         The WPD’s practices and policies cannot be considered narrowly tailored for multiple

reasons. First, even if the City claims that it has a compelling state interest in public safety, one

does not need to even be suspected of criminal activity—much less arrested, charged, or

convicted—in order to be designated a gang member or associate. PSOF ¶¶ 9-10. Neither K.S.A.

21-6313 nor Policy 527 require anything more than engaging in certain kinds of expressive or

associational behavior for designation. The Gang Database is replete with entries whose narratives

do not involve criminal activity. Id. The WPD’s practices cannot be narrowly tailored to serve a




340
    See, e.g., Tennessee v. Lane, 541 U.S. 509, 523 (2004) (citing Press-Enter. Co. v. Superior Court of Cal., Cnty. of
Riverside, 478 U.S. 1, 8–15 (1986)).
341
    Reed, 576 U.S. at 163; Turner Broad. Sys., 512 U.S. at 641–42; Stanglin, 490 U.S. at 23 (quoting San Antonio
Indep. School Dist. v. Rodriguez, 411 U.S. 1, 40 (1973)).
342
    Kennedy v. Bremerton School Dist., --- U.S. ---, 142 S. Ct. 2407, 2421, 2426 (2022); Turner Broad. Sys., 512 U.S.
at 641–42; see also Mem. & Order, Doc. 28, at 36.

                                                         77
      Case 6:21-cv-01100-EFM             Document 207         Filed 09/29/23       Page 78 of 85




public safety interest if those practices lack a connection to criminal activity beyond protected First

Amendment expressions or associations.

        Second, the WPD’s enforcement and application of K.S.A 21-6313 and Policy 527 cannot

be narrowly tailored because the statute and its implementing policy are overbroad and vague.343

Neither include definitions of what certain critical terms mean, and the WPD’s implementation

sweeps in a wide range of individuals who may be associating with one another for completely

benign reasons and engaging in constitutionally protected activities. For instance, so long as there

is another person already on the Gang List in attendance, or the event occurs in a “criminal street

gang’s area,” K.S.A. 21-6313 and Policy 527 permit gang designation of KU fans watching a

basketball game at a local bar while wearing red and blue and “waving the wheat,” or Freemasons

convening at a Masonic Temple while wearing symbolic regalia and greeting each other with secret

handshakes. It would also permit designation of individuals who wear red “Make America Great

Again” hats to a rally in support of former President Donald Trump, or wear pink when

participating in the Women’s March.344

        But the Court need not rely on hypotheticals. The precise sort of gross overreach fostered

by the statute’s unconstitutional terms already occurred when WPD officers mistakenly identified

a Black fraternity gathering as a gang party.345 PSOF ¶ 95. Though that error was ultimately caught,

the same has not been true for Progeny’s planned meetings and protests, or countless family wakes,

funerals, social gatherings, concerts, shared car rides, and other instances of expression and

association.




343
    See supra Section II.
344
    Lynn Berry, Thousands gather for Women’s March rallies across the US, PBS News Weekend (Jan. 18, 2020),
https://www.pbs.org/newshour/nation/thousands-gather-for-womens-march-rallies-across-the-us.
345
    See supra Section II.

                                                    78
      Case 6:21-cv-01100-EFM               Document 207           Filed 09/29/23         Page 79 of 85




        Third, K.S.A. 21-6313 and Policy 527 are inconsistently applied and selectively enforced.

The Gang Database is over-inclusive and contains inaccuracies: there are individuals who have

been designated in the Gang Database but who maintain that they are not gang members or

associates (false positives), and officers are aware of individuals who do satisfy gang member or

associate criteria but are not included in the Gang Database (false negatives). PSOF ¶¶ 36-37, 43-

44. There are WPD personnel who themselves qualify for inclusion, and WPD and Sedgwick

County law enforcement personnel who have self-admitted affiliation with “Three Percenters” are

not included as gang members. PSOF ¶ 44. Gang intelligence officers’ broad, unfettered discretion

over adding or renewing individuals is incompatible with narrow tailoring.

        Not only does the WPD target and condemn a wide variety of innocuous, non-gang related

speech, its practices remain unarticulated, unregulated, and unevenly applied. The WPD does not

have any formal or informal policy or guidelines for understanding and consistently applying the

statutory criteria. PSOF ¶¶ 33-54, 71, 73, 77-79. For these reasons, the City cannot articulate a

compelling government interest that these vague criteria definitively serve, nor demonstrate that

the statute or Policy 527 are narrowly tailored to that interest.

V.      K.S.A. 21-6313, et seq. and Policy 527 have a chilling effect on constitutionally
        protected expressive and associative behaviors in violation of the First Amendment.

        As the Court has already observed, “[e]ven beyond direct restrictions of these associational

rights, First Amendment protections are triggered by ‘[t]he risk of a chilling effect on association

because First Amendment freedoms need breathing space to survive.’”346 The undisputed evidence

shows that the WPD’s implementation and application of K.S.A. 21-6313 and Policy 527 chill

Plaintiffs’ expressive and associative conduct.



346
   See Mem. & Order, Doc. 28 at 36 (citing Am. for Prosperity Found. v. Bonta, --- U.S. ---, 141 S. Ct. 2373, 2389
(2021); NAACP v. Button, 371 U.S. 415, 433 (1963)).

                                                       79
         Case 6:21-cv-01100-EFM          Document 207        Filed 09/29/23      Page 80 of 85




           The individual Plaintiffs and Progeny staff have been added to or renewed in the Gang

Database based on their clothing choices, social media posts, or exercise of rights to expressive

association.347 PSOF ¶¶ 98-99, 114, 116-117, 128, 130, 137, 139, 150, 153-154, 163. Plaintiffs

now fear that engaging in certain kinds of disfavored expressive speech—wearing clothing, getting

tattoos, or posting on social media—will renew their gang status and subject them to the

downstream consequences of being deemed gang members, including higher bail and gang release

conditions if later charged or convicted with a crime, even if that crime is not gang-related. PSOF

¶¶ 102-108, 159.

           Likewise, the individual Plaintiffs fear that gathering with family and friends for funerals

or other events will cause them to be renewed in the Gang Database or cause their family or friends

to be added or renewed. PSOF ¶ 158, see also PSOF ¶¶ 121, 141, 168. Progeny has hesitated to

hold or refrained altogether from holding events or engaging in protest because some Progeny staff

have been designated as gang members, thereby creating a risk that anyone else in attendance at

such events might be added or renewed in the Gang Database. PSOF ¶¶ 104-108. WPD officers

continue to surveil Progeny meetings and staff. PSOF ¶¶ 100, 109.

           Notably, the chilling effects of the WPD’s Gang Database practices on association extend

beyond Plaintiffs. These impacts are also well understood by the WPD’s own Black employees.

Former Deputy Chief Parker-Givens testified that she avoids certain contact with children she

coaches and even her own family members for fear of being labelled a gang member or associate

in the Gang Database. PSOF ¶ 93. Similarly, former Capt. Nicholson also testified that he knew

of members of the community who were afraid to ride in a vehicle with family members because

of the potential for Gang Database inclusion. PSOF ¶ 81. These experiences disproportionally



347
      See supra Sections II.B, IV.

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      Case 6:21-cv-01100-EFM                 Document 207            Filed 09/29/23         Page 81 of 85




impact persons of color in Wichita, as the Gang Database includes many more Black and

Latinx/Hispanic individuals than white individuals. PSOF ¶ 17-20.

         Ultimately, the WPD’s implementation and application of K.S.A. 21-6313 and Policy 527

force Plaintiffs to choose between exercising their expressive and associative rights at the risk of

(continued) gang designation, or relinquishing the most fundamental human connections and

activities that undergird American culture and society. This First Amendment dilemma is

constitutionally intolerable.

VI.      Plaintiffs are entitled to injunctive and declaratory relief.

         If the Court finds in favor of Plaintiffs on any of the above claims—i.e., if they succeed

on the merits—then Plaintiffs are entitled to equitable relief, as set forth below.

         A. Plaintiffs are entitled to injunctive relief.

         To obtain an injunction, Plaintiffs must demonstrate three additional things beyond success

on the merits: (1) they will suffer irreparable harm absent an injunction, for which there is no

adequate remedy at law; (2) the balancing of harms merits injunctive relief; and (3) if issued, an

injunction would not be against the public interest.348

                           1. The WPD’s constitutional violations constitute irreparable harm for
                              which there is no adequate remedy at law.

         The Tenth Circuit and the District of Kansas have consistently held that a violation of

constitutional rights is, in and of itself, irreparable harm.349 Indeed, “[w]hen an alleged




348
   Prairie Band Potawatomi Nation v. Wagnon, 476 F.3d 818, 822 (10th Cir. 2007).
349
   See, e.g., Pac. Frontier v. Pleasant Grove City, 414 F.3d 1221, 1236 (10th Cir. 2005); RoDa Drilling Co. v. Siegal,
552 F.3d 1203, 1210 (10th Cir. 2009); Kansas v. United States, 171 F. Supp. 3d 1145, 1155 (D. Kan. 2016) (same),
aff’d in part sub nom. Kansas by & through Kansas Dep’t for Child. & Families v. SourceAmerica, 874 F.3d 1226
(10th Cir. 2017); Schell v. OXY USA, Inc., 822 F. Supp. 2d 1125, 1142 (D. Kan. 2011), amended, No. 07-1258-JTM,
2012 WL 3939860 (D. Kan. Sept. 10, 2012); Adams By & Through Adams v. Baker, 919 F. Supp. 1496, 1505 (D.
Kan. 1996) (“A deprivation of a constitutional right is, itself, irreparable harm.”).

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      Case 6:21-cv-01100-EFM                   Document 207             Filed 09/29/23          Page 82 of 85




constitutional right is involved, most courts hold that no further showing of irreparable injury is

necessary.”350 Other jurisdictions have applied this rule when granting a permanent injunction.351

                            2. The balancing of harms merits injunctive relief.

         The Plaintiffs have “an interest in prevention of violations of . . . constitutional rights,

whereas” the WPD “has no interest in being allowed to act in an unconstitutional manner.”352 The

City “cannot reasonably assert that it is harmed in any legally cognizable sense by being enjoined

from constitutional violations.”353 Although the WPD certainly has a legitimate interest in

identifying those who commit crimes and rooting out violence in Wichita, the City cannot claim it

is harmed by having to abide by policies and procedures, and carry out the WPD mission, in a

manner that respects the community’s constitutional rights. This element also weighs in favor of

injunctive relief.

                            3. Granting an injunction would not be against the public interest.

         By their very nature, injunctions to uphold constitutional rights are necessarily in the public

interest. The Tenth Circuit has recognized that “the public has a . . . profound and long-term interest

in upholding an individual’s constitutional rights.”354 As such, an injunction here would not be

“adverse to the public interest in this case” because it would “prevent the infringement of plaintiff’s



350
    Awad v. Ziriax, 670 F.3d 1111, 1131 (10th Cir. 2012) (citation omitted); see also Shaw v. Jones, --- F. Supp. 3d --
-, 2023 WL 4684682, at *32 (D. Kan. July 21, 2023); Kikumura v. Hurley, 242 F.3d 950, 963 (10th Cir. 2001),
abrogated on other grounds by Free the Nipple-Fort Collins v. City of Fort Collins, 916 F.3d 792, 797 (10th Cir.
2019); Elrod v. Burns, 427 U.S. 347, 373 (1976); 11A Fed. Prac. & Proc. Civ. § 2948.1 (3d ed.) (“When an alleged
deprivation of a constitutional right is involved, . . . most courts hold that no further showing of irreparable injury is
necessary.”). But see Fish v. Kobach, 840 F.3d 710, 752 (10th Cir. 2016) (“[W]hile we must nonetheless engage in
our traditional equitable inquiry as to the presence of irreparable harm in such a context, we remain cognizant that the
violation of a constitutional right must weigh heavily in that analysis.”).
351
    See, e.g., Doe v. Kentucky ex rel. Tilley, 283 F. Supp. 3d 608, 615 (E.D. Ky. 2017); United States v. Colorado City,
No. 3:12-cv-8123-HRH, 2017 WL 1384353, at *12 (D. Ariz. Apr. 18, 2017).
352
    See Planned Parenthood of Ark. & E. Okla. v. Cline, 910 F. Supp. 2d 1300, 1308 (W.D. Okla. 2012).
353
    Zepeda v. U.S. Immig. & Naturalization Serv., 753 F.2d 719, 727 (9th Cir. 1983).
354
    Awad, 670 F.3d at 1132 (internal quotation marks omitted); see also Shaw, 2023 WL 4684682, at *34 (“It is always
in the public interest to prevent the violation of a party’s constitutional rights.” (quoting Free the Nipple-Fort Collins,
916 F.3d at 807)).

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      Case 6:21-cv-01100-EFM                Document 207           Filed 09/29/23         Page 83 of 85




. . . rights under the [Constitution].”355 This undoubtedly serves the public interest, as “it is always

in the public interest to prevent the violation of a party’s constitutional rights.”356 This final factor

likewise merits granting the injunctive relief Plaintiffs request.

        B. Plaintiffs are entitled to declaratory relief.

        Plaintiffs are likewise entitled to declaratory relief under the Declaratory Judgment Act, 28

U.S.C. §§ 2201 and 2202.

        “In determining whether to grant declaratory relief, the Court should inquire (1) whether a

declaratory action would settle the controversy; (2) whether it would serve a useful purpose in

clarifying the legal relations at issue; (3) whether the declaratory remedy is being used merely for

the purpose of ‘procedural fending’ or ‘to provide an arena for a race to res judicata’; (4) whether

use of a declaratory action would increase friction between our federal and state courts and

improperly encroach upon state jurisdiction; and (5) whether an alternative remedy would be better

or more effective.”357 Unlike the standard for obtaining injunctive relief, Plaintiffs need not show

irreparable harm to obtain declaratory relief.

        Plaintiffs’ demand satisfies each of these factors. Declaratory relief would settle this

controversy and ensure that the unconstitutional provisions of K.S.A. 21-6313, et seq. are no longer

in force, thereby clarifying the legal issues in this case. Such relief would also alleviate many of

the harms Plaintiffs and the putative class experience, and would not improperly infringe upon

state jurisdiction, as it is the federal court’s job to “say what the law is.”358 Finally, although

injunctive relief is an appropriate and necessary remedy here, granting an injunction does not


355
    Bannister v. Bd. of Cnty. Comm’rs, 829 F. Supp. 1249, 1253 (D. Kan. 1993); see also Planned Parenthood, 910 F.
Supp. 2d at 1308; Planned Parenthood Ass’n of Cincinnati, Inc. v. City of Cincinnati, 822 F.2d 1390, 1400 (6th Cir.
1987).
356
    Awad, 670 F.3d at 1132 (internal quotation marks omitted; emphasis added).
357
    Shaw, 2023 WL 4684682, at *35 (quoting Bell Helicopter Textron, Inc. v. Heliqwest Int’l., Ltd., 385 F.3d 1291,
1299 (10th Cir. 2004)).
358
    Bank Markazi v. Peterson, 136 S. Ct. 1310, 1322 (2016) (quoting Marbury v. Madison, 1 Cranch 137, 177 (1803)).

                                                        83
      Case 6:21-cv-01100-EFM                 Document 207            Filed 09/29/23          Page 84 of 85




preclude the issuance of declaratory relief. Indeed, although a request for declaratory relief often

accompanies a request for injunctive relief, they are nevertheless separate remedies.359 If summary

judgment is granted in favor of Plaintiffs, they are entitled to the declaratory relief that they seek.

                                                 CONCLUSION
         For all the foregoing reasons, Plaintiffs are entitled to summary judgment on their claims.

Plaintiffs respectfully request that judgment be entered in their favor and that the Court order the

prospective relief requested in the Pretrial Order (Doc. 196).


Dated: September 29, 2023                                       Respectfully submitted,

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359
    Van Deelen v. Fairchild, No. 05-2017, 2005 U.S. Dist. LEXIS 30503, at *19–20 (D. Kan. Dec. 1, 2005) (citing
cases); see Steffel v. Thompson, 415 U.S. 452, 467 (1974); see also Winter v. Natural Res. Def. Council, Inc., 555 U.S.
7, 33 (2008).

                                                         84
Case 6:21-cv-01100-EFM   Document 207    Filed 09/29/23     Page 85 of 85




                                     AMERICAN CIVIL LIBERTIES UNION
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                                85
